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                       EXHIBIT A




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                         EXHIBIT A-1

    Sexual Abuse Survivor Personally Identifiable Information

                       (Filed Under Seal)




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                       EXHIBIT A-2

            Coalition Counsel Engagement Letters




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SUNNI P. BEVILLE


direct dial: 617.856.8475
fax: 617.289.0457
sbeville@brownrudnick.com



July 21, 2020




 Eisenberg, Rothweiler, Winkler,                        Kosnoff Law PLLC
 Eisenberg & Jeck, P.C.                                 1321 Upland Drive
 1634 Spruce Street                                     PMB 4685
 Philadelphia, PA 19103                                 Houston, TX 77043
 Attn: Stewart J. Eisenberg, Esq.                       Attn: Timothy D. Kosnoff, Esq.
 Email: stewart@erlegal.com                             Email: Tim@kosnoff.com

 AVA Law Group, Inc.                                    Andrews & Thornton
 3667 Voltaire Street                                   4701 Von Karman Ave., Suite 300
 San Diego, CA 92106                                    Newport Beach, CA 92660
 Attn: Andrew Van Arnsdale, Esq.                        Attn: Anne Andrews, Esq.
 Email: andrew.vanarsdale@gmail.com                     Email: aa@andrewsthornton.com

 Slater Slater Schulman, LLP                            ASK LLP
 488 Madison Avenue                                     151 West 46th Street
 20th Floor                                             4th Floor
 New York, NY 10022                                     New York, NY 10036
 Attn: Jonathan E. Schulman, Esq.                       Attn: Edward E. Neiger, Esq.
 Email: jschulman@sssfirm.com                           Email: eneiger@askllp.com



RE: Confirmation of Engagement


Dear Stewart, Timothy, Andrew, Anne, Jonathan and Edward:

We are very pleased that the Ad Hoc Committee of Boy Scouts of America Sexual Abuse
                        Ad Hoc Committee      Client                                               Law Firm
Client                            Law Firm Clients
Eisenberg & Jeck, P.C., Kosnoff Law PLLC, AVA Law Group, Inc., Andrews & Thornton, Slater
                                                                 Law Firms
                       Brown Rudnick   us     we   our           Firm
Committee are identified on Exhibit A attached hereto.




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The Law Firms each represent and warrant that they have the authority to sign this Engagement
Letter on behalf of their respective Law Firm Clients and bind the Law Firm Clients to the terms
hereof.

                                                                      Terms
and include additional information setting forth the terms on which the Firm will provide legal


                                                                                                    Engagement
Agreement
answer any questions you may have regarding our engagement by the Ad Hoc Committee.

                                                 Scope of Engagement

Subject to the acceptance of this Engagement Agreement by the Law Firms on behalf of their
Law Firm Client members of the Ad Hoc Committee, as described herein, we have agreed to
represent the Ad Hoc Committee as bankruptcy counsel as of July 18, 2020 in connection with
In re Boy Scouts of America and Delaware BSA, LLC                       Debtors               Company
No. 20-10343 (LSS) (Jointly Administered), pending in the United States Bankruptcy Court for
                                      Bankruptcy Case

It is understood that our engagement is with the Ad Hoc Committee as a whole, and not any
individual member thereof. As such, this Engagement Agreement and our engagement by the
Ad Hoc Committee do not create an attorney-client relationship between Brown Rudnick and any
individual member of the Ad Hoc Committee. Any such relationships in other matters are
governed by separate retention letters.

                                           Staffing, Fees, and Expenses

David Molton and I will have primary responsibility for the engagement. To the extent necessary
and appropriate, other lawyers and Firm personnel may work on this matter as well.

Fees for our services will be based on the time expended by each lawyer and other Firm


                                                          Standard Hourly Fees



In addition to the fees for services, you also shall pay, and reimburse the Firm for, all costs and
expenses incurred by the Firm in connection with the engagement including, without limitation,
those identified in the attached Schedule of Disbursement Charges.




                                                                              CASJ Verified Statement Exhibit A Page 5
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                                                              services and related costs and expenses will
generally be prepared and mailed to the Law Firms during the month following the month in which
services are rendered or costs or expenses are incurred. Except as otherwise set forth in this
Engagement Agreement, payments are due from the



Although the Law Firms are jointly and severally responsible for payment of our fees hereunder,
they may allocate our fees in a mutually acceptable manner among themselves. As noted above,


whether there are any recoveries on account of the tort claims held by the members of the Ad
Hoc Committee.

                                                Replenishing Retainer

You shall deliver to the Firm a retainer of $100,000 (the "Retainer"). The Retainer, as well as


to pay the fees and other charges you incur. The Firm will typically apply funds in the Retainer
upon or following delivery of monthly statements to you, but reserves the right to apply funds in
the Retainer to pay any fees or other charges at any time and in such cases will deliver a
statement to you following the application of such funds. The Retainer will be a "replenishing
retainer" such that your funds on deposit with the Firm will remain at no less than $30,000.
Within fifteen (15) days after notice from the Firm to you that all or a portion of the Retainer has
been used to pay professional fees and/or costs, you shall deposit funds with the Firm sufficient
to replenish the Retainer to an amount equal to at least $100,000. If the billing in any monthly
cycle exceeds $100,000, you shall pay within fifteen (15) days after such billing the full amount
of such charges so that the Retainer is completely restored to an amount no less than $100,000
and no receivable balance remains owing from you to the Firm.

                                                         Direction

The Firm is being retained by the Ad Hoc Committee, and not by any individual member of the
Ad Hoc Committee. The Firm shall not act on behalf of the Ad Hoc Committee in a manner that
is contrary to any direction we receive from the Law Firms.

                                               The Ad Hoc Committee

We understand, and each member of the Ad Hoc Committee so acknowledges, that each such
member has agreed to come together to form the Ad Hoc Committee because you are similarly
situated tort claimants of the Debtors and you expect that you may have similar views as to




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matters relating to the Debtors and the tort claims. Notwithstanding this arrangement and the
execution of this Engagement Agreement: (i) each member of the Ad Hoc Committee
acknowledges that no member has agreed to take on, and no member shall owe, a fiduciary duty
to any of the other members; and (ii) no member has agreed to take on, nothing herein shall
imply, and each member disclaims any fiduciary duty to any other holder of tort claims.
Furthermore, each member acknowledges that it in no way intends or agrees to be deemed a
                 group
1934, as amended, for any purpose other than the resolution of the matters specifically identified
herein, or to be acting in concert in any other manner with any holder which would be in violation
of, or trigger reporting or similar obligations under, applicable law. Furthermore, neither this
arrangement nor any provision of this Engagement Agreement shall (a) prevent any member of
the Ad Hoc Committee from exercising or seeking to enforce or protect its rights with respect to


forbear from taking any action as it may deem appropriate, including effectuating any settlement
with the Debtors with respect to its tort claim.



will not be shared with any other member, except with respect to the specific subject matter of
the engagement of the Firm by the Ad Hoc Committee. Each member waives any obligation of
the Firm to disclose to it any information of another member that is to remain confidential as
provided in the foregoing sentence.

                                                   Conflicts of Interest

Our ability to represent any and all of our clients is governed by what are commonly called Rules
of Professional Conduct, which include but are not limited to rules regarding conflicts of interest
between any client of an attorney or law firm and their existing and former clients. Each member
of the Ad Hoc Committee agrees that the Firm has been engaged in this matter as legal counsel
to the Ad Hoc Committee as a whole, and not individually by you or any other individual member
thereof. Each member of the Ad Hoc Committee also understands and agrees that the Firm
therefore will not be prevented due to legal conflicts or Rules of Professional Conduct of any kind
from providing legal or non-legal services to such other clients in matters that might be directly
adverse to you or any other member of the Ad Hoc Committee or your respective interests (other
than in connection with the interests of the Ad Hoc Committee as a whole as they relate to the
Debtors). The Terms include an Existing and Future Conflicts Waiver section in which the Ad
Hoc Committee agrees to certain waivers of conflicts of interest, including a limited, future waiver
of any potential or actual conflicts of interest (other than in certain matters in connection with the
interests of the Ad Hoc Committee as a whole as they relate to the Debtors). This means that,




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subject to the limits described in the Terms, the Firm may represent another client in certain


interests.

                                                        Communication

We will keep the Ad Hoc Committee apprised of significant developments in the course of the



any point any member of the Ad Hoc Committee wishes to discuss any issues or to clarify the
legal advice we have provided the Ad Hoc Committee, please call upon us.

                                                         Governing Law

The Engagement Agreement shall be governed by and construed in accordance with the laws of
                                       Specified State
that would result in the application of the laws of a different jurisdiction, provided that our
obligations to the Ad Hoc Committee shall also be subject to any applicable professional rules or
codes of conduct applicable to the provision of our services to the Ad Hoc Committee, except to
the extent the applicability of such provisions is permitted to be waived thereby and is waived by
the Ad Hoc Committee.

                                                      Acknowledgement



representation of the Ad Hoc Committee, please do not hesitate to contact me. We look forward
to representing the Ad Hoc Committee and are pleased that the Ad Hoc Committee has chosen
us to do so.

                                                                  Sincerely,
                                                                  BROWN RUDNICK LLP



                                                                  Sunni P. Beville




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                BROWN RUDNICK LLP                               representation. In the event we provide services
                                                                beyond the original scope or for a separate matter(s),
              Client Engagement Terms                           this Engagement Agreement and our then prevailing
                                                                standard terms and conditions, hourly rates, and
We are very pleased that the Ad Hoc Committee has               policies shall automatically govern unless otherwise
engaged the Firm. These Client Engagement Terms                 agreed.
     Terms
             Engagement Letter                                  Each member of the Ad Hoc Committee acknowledges
the Engagement Letter shall have the same meanings              that the Firm has not provided any member of the Ad
when used in these Terms. The Engagement Letter,                Hoc Committee with legal advice concerning the terms
together with these Terms, is a contract for our                and conditions of our Engagement Agreement.
                                   Engagement
Agreement                                                                   Charges for Legal Services


We are of course available to answer any questions you          A.       Legal Fees and Disbursements
may have regarding the engagement or the
Engagement Agreement.                                           Fees for our services and charges for our costs and
                                                                expenses will be incurred and be payable by you in
             Welcome to Brown Rudnick                                                                Staffing, Fees,
                                                                and Expenses
Brown Rudnick is a limited liability partnership
organized under the laws of the Commonwealth of                 Currently, our hourly rates for partners/counsel vary
Massachusetts, which may, when necessary to provide             from $675 to $1,700, for associates from $510 to $940,
services to the Ad Hoc Committee under this                     and for paralegals from $375 to $465. Other staff
Engagement Agreement, collaborate and share                     hourly rates range from $280 to $400. My hourly rate
resources and information with its subsidiaries or              is currently $1,000. These hourly rates are subject to
                Brown Rudnick Affiliates                        change on a periodic basis.
understand and agree that such information may
include your confidential or proprietary information and        We may provide the Law Firms and Law Firm Clients
that the partners and employees of Brown Rudnick                with an estimate of our fees and disbursements that
Affiliates may render services to the Ad Hoc                    members of the Ad Hoc Committee may incur, based
Committee, whether or not they are identified as such           on our best judgment. Such estimates, however, are
                                                                by their nature inexact and are not intended to be
by the Engagement Agreement. For purposes of the                binding upon the Firm.
conflicts of interests and professional ethics rules
                                                                B.       Payment/Questions
described herein, each of the Firm and the Brown
Rudnick Affiliates, in their sole discretion, may elect to      The Law Firms are jointly and severally responsible for
                       s as its own clients.                    the fees incurred by the Firm on behalf of the Ad Hoc
                                                                Committee. Accordingly, payment will be made by the
                   The Engagement                               Law Firms in the full amount of our statement. If you
                                                                have any questions about any statement that we
                                                                submit, you should promptly contact the lawyer
Committee is limited to the matter(s) described in our          responsible for our engagement by the Ad Hoc
Engagement Letter and to any additional matters for             Committee so that we may understand and address
which the Firm expressly agrees to provide legal                your concerns promptly.




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C.       Third Party Payment Responsibility                     or such member cannot collect all or part of the award
                                                                for any reason.
As noted above, the Law Firms are undertaking to pay
                                                                                Insurance Coverage
Committee hereby consents to (a) the application of
those funds to the outstanding balance of such                  It is possible that members of the Ad Hoc Committee
                                                                may have insurance policies relating to the matter that
such member might otherwise have to direct us to pay            is the subject of our engagement by the Ad Hoc
or apply those funds in any other fashion, and (b) to the       Committee. Each member of the Ad Hoc Committee
extent any Law Firm makes payment to us on a                    should carefully check the insurance policies it has
                                                                purchased and, if coverage may be available, such
portion of outstanding fees and expenses are to be              member should provide notice to all insurers that may
covered by such payment, each member hereby                     provide such coverage as soon as possible. Our
consents to us adhering to those directions and waives          engagement by the Ad Hoc Committee will not include
any right such member might otherwise have to direct            advising members of the Ad Hoc Committee with
us to pay or apply those funds in any other fashion.            respect to the existence or availability of insurance
Such payment shall not create an attorney-client                coverage for matters within the scope of our
relationship between the Firm and the payer. All funds          engagement.
remaining on retainer with the Firm at the conclusion of
our engagement will be returned to the Law Firms.                                    Termination


If any other third party (including, without limitation, an     The Law Firms, on behalf of the Ad Hoc Committee
insurer or affiliate, Trustee, or the Debtors) undertakes       may, of course, terminate our services at any time. The


of the Ad Hoc Committee will remain responsible for
payment of any amounts billed by the Firm and not paid          members of the Ad Hoc Committee, to pay for billed
by that third party, 2) each member of the Ad Hoc               and unbilled legal services rendered or other charges
Committee hereby consents to the application of those           incurred as of the date of termination and, where
funds to the outstanding bal                                    appropriate, for such expenses as we may incur in
account with the Firm and waive any right such member           effecting an orderly transition to successor lawyers
might otherwise have to direct us to pay or apply those         chosen by the members of the Ad Hoc Committee. In
funds in any other fashion, and 3) to the extent any such       addition, any member of the Ad Hoc Committee may
                                                                withdraw from the Ad Hoc Committee at any time,
accompanied by directions as to what portion of                 subject to the terms set forth in the Engagement Letter.
outstanding fees and expenses are to be covered by
such payment, each member hereby consents to us                 Subject to ethical rules by which we are bound, we also
adhering to those directions and waives any right such          reserve the right to suspend our services or withdraw
member might otherwise have to direct us to pay or              from the engagement described in this Engagement
apply those funds in any other fashion. Such payment            Agreement at any time, but barring unusual
shall not create an attorney-client relationship between        circumstances we will discuss such suspension or
the Firm and the payer. If any member of the Ad Hoc             withdrawal with the Law Firms, on behalf of the
Committee is awarded legal fees or costs by a court or          members of the Ad Hoc Committee, before doing so
other party, such member will remain responsible for            and expect to do so only if there are good reasons for
payment of its pro rata shar                                    such withdrawal, including, without limitation, non-
and other charges, even if the award to such member             payment of our statements on a timely basis, significant
is less than the amounts we have billed such member             differences between our professional judgment and the




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judgment of the Ad Hoc Committee, the existence of              accurately disclose to us all facts and documents that
                                                                may be relevant to our representation of the Ad Hoc
continuing representation of the Ad Hoc Committee               Committee or that we may otherwise request. For
unlawful or unethical, or any other concerns that may           instance, each member of the Ad Hoc Committee
arise under the ethical rules by which we are bound.            should be reasonably available to attend meetings,
The obligations of the Firm under this Engagement               discovery proceedings, conferences, and other
Agreement are and will be subject to court orders,              proceedings.
statutes, laws, rules, and regulations governing the Ad
                                                                Each member of the Ad Hoc Committee authorizes and
Ad Hoc Committee authorizes the Firm to take                    directs the Law Firms to authorize and direct us to take
whatever action is necessary to comply with the                 all actions which we deem advisable on behalf of the
requirements of such authorities.                               Ad Hoc Committee in our representation of the Ad Hoc
                                                                Committee. Subject to any limitations set forth in the
Unless it is previously terminated, our representation of       Engagement Letter, we will notify the Ad Hoc
the Ad Hoc Committee, and our lawyer-client                     Committee, through the Law Firms, of significant
relationship with the Ad Hoc Committee, will be deemed          developments and consult with the Law Firms, on
to have been terminated upon the conclusion of our              behalf of the Ad Hoc Committee, in advance of any
services.                                                       significant decisions.

We may ask that the Ad Hoc Committee, through the               We will use our professional judgment and efforts in
Law Firms, provide additional confirmation of such              representing the Ad Hoc Committee; however, we have
termination by signing a substitution or withdrawal of          given no assurance to the Ad Hoc Committee regarding
counsel and/or such other documents as may be                   the outcome.       Any statements concerning our
                                                                representation of the Ad Hoc Committee or the results
termination of our lawyer-client relationship with the Ad       that might be anticipated made by us are merely
                                                                expressions of our opinion as attorneys, limited by the
prior appearance in any court or other litigated                information known to us at the time and are not to be
proceeding. You agree to sign such a substitution or            construed as promises or guaranties of any particular
withdrawal of counsel and/or such other documents.              results.

After the conclusion or termination of our representation       The Firm can provide communications in various
of the Ad Hoc Committee as described in the
Engagement Agreement, changes in relevant laws,                 requirements. These may be accessed from mail
regulations, or decisional authorities may affect the Ad        accounts on the Internet and other electronic networks.
                                                                These communication services are used with the Ad
Hoc Committee engages the Firm to provide future
services and to advise the Ad Hoc Committee with                use appropriate measures to protect client
respect to any issues that may arise in the future as a         confidentiality, they may be subject to security risks.
result of such changes, we will have no continuing              Absent special arrangements, we do not employ
obligation to advise the Ad Hoc Committee or any of its         encryption      technologies   in    our    electronic
members with respect to future legal developments.              communications. Should the Ad Hoc Committee not
                                                                wish the Firm to use one or more of the communication
                    Communication                               methods described above, please advise us of such in
                                                                writing. We will use reasonable efforts to use the
We expect that the Ad Hoc Committee, through the Law            communication services the Ad Hoc Committee
Firms, will cooperate with us and will fully and                specifies.




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                     Confidentiality                            bases for our processing, and the rights of the data
                                                                subjects to which the personal data relates.
A.       Confidentiality and Disclosure
                                                                You hereby confirm that you, acting as our agent in
We owe a duty of confidentiality to all our clients and         respect of data subjects who are your directors,
                                                                officers, employees, agents or other contacts, have no
information accordingly. Similarly, we are not required         reason to believe that you have not complied with all of
to disclose to the Ad Hoc Committee, or use on the Ad           your obligations under Data Protection Law (to the
                                                                extent applicable) in respect of your collection and use
information in our possession.                                  of such subjects' data and your provision of it to us, in
                                                                each case as necessary for us to provide you with our
B.       Disclosure to Certain Third Parties                    services.

Each member of the Ad Hoc Committee agrees that we              To the extent we are acting as a data processor in
may, when required by our insurers, auditors, or other          processing personal data on your behalf we agree,
advisers, provide details to them of any matter or              whenever the GDPR applies, to:
matters on which we have represented the Ad Hoc
Committee.                                                      (a) act only on documented instructions from you in
                                                                    respect of any personal data processed by us;
C.       Data Protection
                                                                (b) have appropriate technical and organizational
This paragraph, and Annex 1, are added pursuant to                  measures in place against unauthorized or
our obligations under EU data privacy law. If you are a             unlawful processing of personal data and against
non-EU citizen or resident based outside of the EU, EU              accidental or unlawful loss or destruction of,
data privacy law will apply to the extent that Brown                alteration or unauthorized disclosure of or access
Rudnick processes any personal data provided by you                 or damage to, personal data held or processed by
or on your behalf in the context of its EU establishment.           it, appropriate to the harm that might result from
                                                                    such accidental, unauthorized or unlawful
                                 data controller                    processing or loss, destruction or damage to
 personal data    data processor    data subject                    personal data and the nature of the personal data;
     process(ing)
them in the EU General Data Protection Regulation               (c) ensure the on-going confidentiality, integrity,
  GDPR                                                              availability and resilience of processing systems
                                             Data                   and services as well as the ability to restore the
Protection Law                                                      availability and access to personal data in a prompt
                                                                    manner in the event of a physical or technical
Brown Rudnick, whether acting as a data controller of               incident as required under Data Protection Law;
personal data relating to your partners, directors,
officers or employees, or as a data processor in                (d) not engage another processor without your prior
processing personal data on your behalf and in                      written consent, and where another processor is
accordance with your instructions, will comply with the                         Sub-Processor
GDPR and/or with any applicable national laws
implementing or replacing the GDPR. Please see the                   (i) ensure that the Sub-Processor complies with
Privacy Notice set out in Annex 1, which provides                    the obligations set out in this paragraph and Data
further information in respect of when Brown Rudnick is              Protection Law;
acting as a data controller, including what personal data
we collect, why and where we process it, the legal




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       (ii) in the case of a general consent from you for        (k) notify you without undue delay if we become aware
       use of Sub-Processors, inform you of any                      of any breach of security leading to the accidental
       changes concerning the addition or replacement                or    unlawful   destruction,    loss,   alteration,
       of Sub-Processors to which you have the right to              unauthorized disclosure of, or access to, personal
       object; and                                                   data relating to you, and provide all information
                                                                     regarding such breach that you specifically request
       (iii) remain liable for any act or omission of any            or which may reasonably be expected to be
       Sub-Processor in respect of its obligations arising           required or appropriate in order for you to comply
       from its processing of the personal data;                     with your legal obligations under the Data
                                                                     Protection Law.
(e) assist you to comply with your obligations under
    Data Protection Law, including in relation to the                             Document Retention
    security of personal data;

(f)   assist you, at your cost, to respond to requests by        Law Firms, their original hard copy documents and
      data subjects to exercise their rights under Data                                                client file
      Protection Law in respect of our engagement,               as set forth herein. Subject to applicable rules of ethics
      including taking any action required by you to             by which we are bound, we may condition delivery of
      comply with such requests and immediately
      notifying you of any such requests received by us          payment for outstanding fees and other charges, and
      or any Sub-Processor without responding to such            such client file will be subject to any lien permissible
      requests or enquiries unless expressly otherwise           under applicable rules of professional responsibility.
      instructed by you;
                                                                 original format or an electronic format on a CD, DVD,
(g) take all necessary steps to ensure the reliability of        or other medium. Should the Ad Hoc Committee decide
    any of our staff who have access to personal data            not to request or accept any portion of the Ad Hoc
    processed under this agreement and ensure that                                          he conclusion or termination
    they are subject to appropriate obligations of               of our representation of the Ad Hoc Committee, each
    confidentiality;                                             member of the Ad Hoc Committee authorizes us to

(h) allow you to audit as and when necessary, in                 file at our discretion and without further notice to any
    accordance with the Data Protection Law, the                 member of the Ad Hoc Committee, subject to any
    technical and organizational measures in place to            applicable ethics rules by which we are bound.
      ensure compliance with the Data Protection Law
      and to make available to you all information               Each member of the Ad Hoc Committee agrees that our
      necessary to demonstrate such compliance;                  drafts of documents, notes, internal working papers,
                                                                 internal e-mail and electronic databases and other
(i)   inform you where in our opinion any of your                attorney work product shall be and remain the property
      instructions will result in a breach of Data               of the Firm and shall not, except in our sole and
      Protection Law;                                            absolute discretion or as otherwise required by the
                                                                 ethical rules by which we are bound, be considered part
(j)   if required by you, delete or return all personal data
      in our possession or control to the extent
      technically feasible save as required by any               The Firm retains the right to make copies of the Ad Hoc
      applicable law; and                                                                      our expense, for our own
                                                                 information and retention purposes.




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            Anti-Money Laundering Laws                          fees relating to such matter, including, without
                                                                limitation, the reasonable fees of attorneys employed at
Numerous     countries have enacted Anti-Money                  the Firm as well as any outside counsel.
              AML
engaged to assist the Ad Hoc Committee in matters               C.       New York Fee Dispute Process
within the scope of our engagement that become
subject to AML requirements, it will be necessary to            If any of our New York licensed lawyers work on this
comply with the applicable AML laws. In connection              matter and if a material portion of the legal services we
therewith, we or our lawyers may be required to obtain          provide to the Ad Hoc Committee takes place in New
additional, specific evidence of identity from each             York, the Ad Hoc Committee may have an option to
member of the Ad Hoc Committee.                                 invoke arbitration should a fee dispute arise between
                                                                the Ad Hoc Committee and us during or at the
                  Dispute Resolution                            conclusion of this engagement. Specifically, in any civil
                                                                matter where the fee dispute involves a sum of up to
A.       Resolving Problems and Disputes                        $50,000, the Ad Hoc Committee may have a right to
                                                                compel resolution by binding arbitration. In addition,
If the Ad Hoc Committee has any complaints or                   whether or not binding arbitration is available, both the
concerns about our work for the Ad Hoc Committee,               Ad Hoc Committee and we are encouraged to seek
please raise these in the first instance with the lawyer        resolution of lawyer-client disputes, including fee
                                                                disputes, through mediation, and the New York Courts
                                                                and Bar have established a program for mediation of
Baldiga: 617-856-8568) or Chief Legal Officer (Joel S.          such disputes by an impartial mediator. In the event
Miliband: 949-440-0227). We will investigate the Ad             that any fee dispute should arise in this engagement
                                                                which is not promptly and satisfactorily resolved
do what we reasonably can to resolve the difficulties to        between the Ad Hoc Committee and us, we shall
                                                                furnish the Ad Hoc Committee with further details
                                                                concerning the procedures and effects of arbitration
B.       General                                                and mediation, so that the Ad Hoc Committee can make
                                                                an informed decision as to how to proceed in the
Except as provided herein, should any dispute arise in
                                                                circumstances.
connection with our representation of the Ad Hoc
Committee or in connection with any other matter                D.       California Dispute Process
arising under this Engagement Agreement, the Ad Hoc
Committee and we both agree to seek to resolve the              If any of our California licensed lawyers work on this
dispute amicably, including, if appropriate, utilization of     matter, or if any member of the Ad Hoc Committee is a
mediation or other methods of alternative dispute               California resident, such member of the Ad Hoc
resolution. If the dispute cannot be resolved amicably,         Committee may have a right to invoke arbitration should
the Ad Hoc Committee and we both agree that any                 a fee dispute arise between such member of the Ad
action or proceeding relating to or arising out of the          Hoc Committee and us during or at the conclusion of
dispute will be exclusively brought in a state or federal       this engagement, under the California Mandatory Fee
court located in the Specified State and the Ad Hoc             Arbitration Program (Business & Professions Code §§
Committee and we each agree that any such court has,            6200 et seq.).
and may exercise, personal jurisdiction over each
member of the Ad Hoc Committee and us in any such
action. You agree that in any proceeding in which an
order or judgment is entered in our favor, you are




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         Limitation of Representation; Client                                    No Third Party Rights
                   Responsibilities
                                                                 No provision of the Engagement Agreement is intended
The Firm has no obligation to provide legal services             to be enforceable by any third party. Accordingly, no
until the Firm is satisfied that each member of the Ad           third party shall have any right to enforce or rely on any
Hoc Committee has accepted the Engagement                        provision of the Engagement Agreement.
Agreement and paid any initial retainer called for in the
Engagement Letter.                                                       Integration Clause; Inconsistencies

Except as expressly agreed to in the Engagement                  This Engagement Agreement supersedes any earlier
Letter, our representation of the Ad Hoc Committee in            terms of business we may have agreed with the Ad Hoc
any litigation matter will be limited to the final disposition   Committee or any of its members regarding the
of the matter described therein, whether by trial,               services to be provided in this matter and, in the
judgment, settlement, or other final disposition, by the         absence of express agreement to the contrary, will
court, agency, or other administrative body where it is          apply to the services referred to in any Engagement
initially pending and shall not include any appeals              Letter accompanying these Terms and all subsequent
therefrom to any other court, agency, or administrative          legal services we provide to the Ad Hoc Committee. In
body. Should we agree to represent the Ad Hoc                    the event of any inconsistency between these Terms
Committee in an appeal, the terms and conditions of              and the Engagement Letter, the Engagement Letter
that representation shall be set forth in a separate             shall prevail.
Engagement Agreement.
                                                                 Each member of the Ad Hoc Committee acknowledges
Our services will not include advice on tax related              that the terms of this Engagement Agreement govern
issues or the tax implications of any transaction or             the relationship between the Firm and the Ad Hoc
course of action unless (and then only to the extent             Committee, and the responsibilities of the members of
that) this is expressly agreed at the commencement, or           the Ad Hoc Committee in respect thereof,
during the course, of a matter.                                  notwithstanding any terms of any outside counsel
                                                                 guidelines or the like that any member of the Ad Hoc
                          Publicity                              Committee may have sent or send to us from time to
                                                                 time, except to the extent that we may otherwise
We are often asked to provide examples of our relevant           expressly agree in writing. To the extent that we agree
experience in certain fields of work, for use, for               to the applicability of any such guidelines, and the terms
                                                                 of such guidelines and the Engagement Agreement
Hoc Committee advises us to the contrary, we will                materially conflict, the Engagement Agreement shall
assume that we can refer to the fact that we act for the         control, except to the extent that we may otherwise
Ad Hoc Committee, and may describe in general terms              expressly agree in writing.
the nature of the work. In the event that we wish to
publicize any further details, we would first seek the Ad                Existing and Future Conflicts Waiver

                                                                 Our ability to represent any and all of our clients is
                   Severance of Terms                            governed by what are commonly called Rules of
                                                                 Professional Conduct, which include but are not limited
If all or any part of the Engagement Agreement is or             to rules regarding conflicts of interest between multiple
becomes illegal, invalid, or unenforceable in any                clients of an attorney or law firm and their existing and
respect, the      remainder      will   remain     valid   and                                the Conflicts Rules
enforceable.




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Each member of the Ad Hoc Committee agrees that the             is suing the Ad Hoc Committee as a whole in such
Firm has been engaged in this matter as legal counsel           litigation), alternative dispute resolution, administrative
to the Ad Hoc Committee as a whole, and not                     proceedings, interpleader proceedings, bankruptcy and
individually by you or any other individual member              other insolvency proceedings, and discovery and
thereof. You also understand and agree that the Firm            discovery disputes, including, without limitation,
therefore will not be prevented due to any Conflicts            subpoenas, document requests, and depositions, class
Rules from providing legal or non-legal services to such        actions (unless the Ad Hoc Committee as a whole is
other clients in matters that might be directly adverse to      named as a party in a class action in which we
you or any other member of the Ad Hoc Committee or              represent another client that is suing the Ad Hoc
your respective interests (other than in connection with        Committee as a whole ), or other legal matters even if
the interests of the Ad Hoc Committee as a whole as             those matters are adverse to the Ad Hoc Committee as
they relate to the Company).                                    a whole or if those clients are competitors, including,
                                                                without limitation, with respect to advice relating to
                                                                intellectual property strategy, due diligence, licensing
Engagement Agreement indicates to us that the Ad Hoc            and development agreements, joint ventures, and
Committee and its members find the consents, waivers,           intellectual property protection matters, including,
and conditions described below to be acceptable and             without limitation, trademarks, patents, and copyrights.
agree that our representing the Ad Hoc Committee in             Further, if the Ad Hoc Committee is or becomes
these matters will not prevent or disqualify us from            adverse to another client of the Firm in any matter,
representing clients adverse to the Ad Hoc Committee            whether or not we represent the Ad Hoc Committee in
in other matters and that the Ad Hoc Committee                  such matter, the Firm will also remain free to represent
consents in advance to our undertaking such adverse                                       other matters, without regard
representations.                                                to whether the matter in which the Ad Hoc Committee

With respect to the Ad Hoc Committee as a whole (as             negotiations, business transactions, trading claims,
contrasted with any individual member of the Ad Hoc             trading debt, trading equity interests, trading securities
Committee, individually, as to which the paragraph              and trading other types of rights and obligations,
immediately above shall govern), the Firm agrees that           litigation, alternative dispute resolution, administrative
it will not represent another client in a matter that is        proceedings, interpleader proceedings, bankruptcy and
entirely factually and legally related to the matters on        other insolvency proceedings, discovery and discovery
which we represent the Ad Hoc Committee in                      disputes, subpoenas, document requests, depositions,
                                      Matters                   class actions, or other legal matters.
the Firm will not at any time, disclose or use adversely
to the Ad Hoc Committee any confidential Client                 The Firm represents other clients to whom the Firm
information we obtain in the course of representing the         does not provide legal services, such as its government
Ad Hoc Committee in the Matters.                                relations clients, and the Conflicts Rules do not apply to
                                                                such services. The Ad Hoc Committee understands
Outside of these limitations, the Firm hereby seeks a           and agree that the Firm may provide non-legal services
waiver that will allow it to remain free to represent other     to such other clients in matters that might be directly
clients adverse to the Ad Hoc Committee. In other
words, we may represent other clients in negotiations,
business transactions, trading claims, trading debt,            Although unlikely, it may be necessary in the course of
trading equity interests, trading securities and trading        our representation of the Ad Hoc Committee for our
other types of rights and obligations, litigation (unless       lawyers to analyze or address their professional duties
the Ad Hoc Committee as a whole is named as a party             or responsibilities or those of the Firm, and to consult
in a litigation in which we represent another client that       with the Firm's general counsel or other lawyers in




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doing so. To the extent we are addressing our duties,                    Is there a material risk that the law firm will be
obligations or responsibilities to the Ad Hoc Committee                  less zealous or eager when representing the
in those consultations, it is possible that a conflict of                client in the applicable matter because of other
interest might be deemed to exist as between our                         adverse representation?
lawyers or the Firm and the Ad Hoc Committee. As a
condition of this engagement, the Ad Hoc Committee                       Is the client ready, willing, and able to live by
consents to any conflict of interest that might be                       its commitments in the future?
deemed to arise out of any such consultations. The Ad
Hoc Committee further agrees that these consultations           As to the first two questions, we believe that any risk to
are protected from disclosure by the Firm's attorney-           the Ad Hoc Committee is minimal to nonexistent in light
client privilege and that the Ad Hoc Committee will not         of the protections and limitations contained in this
seek to discover or inquire into them. Of course,               Engagement Agreement. As to the final question, that
nothing in the foregoing shall diminish or otherwise
affect our obligation to keep the Ad Hoc Committee              ours.
informed of       material  developments     in   our
representation of the Ad Hoc Committee, including any           Each member of the Ad Hoc Committee has advised us
conclusions arising out of such consultations to the            that this waiver will be treated as an express exception
extent that they affect
interests.                                                      granting waivers of conflicts of interest, provided that it
                                                                is limited to the terms described in this Engagement
We have conducted a search                                      Agreement for our representation of the Ad Hoc
database. We have disclosed to the Ad Hoc Committee             Committee in connection with the Matters, and that
any ethical conflicts of interest that existed at such time,    such member has obtained any requisite internal
as defined by the applicable rules of professional              approvals for this exception.
conduct, other than those to which the Ad Hoc
Committee has consented herein.              The Ad Hoc
Committee agrees that such disclosed conflicts, if any,
have been resolved to its satisfaction.

Subject to any applicable Conflicts Rules, the terms of
this waiver and consent shall last indefinitely.

As the members of the Ad Hoc Committee know, you
have had the opportunity to discuss this conflicts waiver
and its potential implications with us by phone or in
person, and we strongly urge the members of the Ad
Hoc Committee not to accept this Engagement
Agreement if any of them have any unanswered or
unaddressed reservations or concerns. Any time a
client makes a decision to waive future conflicts of
interest, there are questions it should address,
including:

         Is there a material risk of adverse disclosure
         or use of confidential client information?




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                                                     BROWN RUDNICK LLP
                                                Schedule of Disbursement Charges
                              TYPE                                                           RATE
   Photocopying or Laser Printing or Scanned Copies               30¢ per page
   Oversized/Color Copies or Color Laser Printing                 $1.80 per page

   Telecopy                                                       $2.00 per page

   Binding                                                        $3.00
                                                                  11¢ per tab
                                                                  20¢ per pocket
   Courier Services                                               $30.00 minimum

   Legal Analyst Services                                         $90.00 per hour
   Electronic Discovery and Document Maintenance                  $30 per user per month for Viewpoint license and
   Database Charges                                               $7 per GB per month for storage of data.
   Imaging Costs                                                  Electronic Binder:
                                                                  Document Indexing $1.75 per bookmark
                                                                  Oversized Documents $1.80 per document
                                                                  Master CD $60.00
                                                                  Additional Copies $30.00 each
                                                                  Summation:
                                                                  Single TIF imaging 11¢ each
                                                                  Single TIF OCR 3¢ each
                                                                  TIF to PDF conversion 5¢ each
   Mileage Allowances                                             58¢ per mile
   Outgoing Long Distance Telephone                               34¢ per minute
   Lexis/Westlaw or other document retrieval                      Usage Charge as assessed by Service Provider 1
   Messenger Services                                             $20 minimum
   Postage                                                        Actual Cost
   Taxi Services                                                  Actual Cost
   Supplies                                                       Actual Cost
   Food Services                                                  Actual Cost
   Travel Expenses                                                Actual Cost
   News Watch Services                                            News Watch email alerts:
                                                                  Weekly @ $50 per week; Daily @ $45 per day
   Accuroute Scan                                                 30¢ per page
   Docketing System Charges                                       Actual Cost
   Third-Party Electronic Document Maintenance                    $75 per user per month for Case Notebook license and $30 per
   Charges                                                        GB per month for storage of data.
                                                                  $75 per user per month for CaseLogistix license and $30 per GB
                                                                  per month for storage of data.




1 Brown Rudnick may benefit from a different, bulk pricing formula.




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                                                          ANNEX 1

                                ENGAGEMENT LETTER PRIVACY NOTICE

                                                 personal data        data subject        data controller
processing
                                      GDPR
                                         Data Protection Law

This privacy notice applies to:
       Brown Rudnick LLP, a limited liability partnership organized in the Commonwealth of
       Massachusetts, USA and with its principal office at One Financial Center, Boston, MA
       02111, and
       Brown Rudnick LLP, a limited liability partnership registered in England and Wales with
       company number OC300611 and its registered office at 8 Clifford Street, London W1S
       2LQ,

                                                              Brown Rudnick        Firm      we     us          our
                                                                                              ICO
ZA073920.

This privacy notice applies to the extent that Brown Rudnick collects and/or processes personal
data in the capacity of a data controller. Any updates to this privacy notice will be notified to you.
This engagement letter privacy notice is in addition to our website privacy notice at
www.brownrudnick.com/privacy-policy, which applies to the extent that you interact with our
website at www.brownrudnick.com.

1.     What personal information we collect

In the course of entering into the arrangements documented in this letter and in supplying legal
services to you, Brown Rudnick will collect and process personal data. The following personal
data may be collected in respect of you, your partners, directors, officers and employees (as
applicable if you are an incorporated entity), and also your agents and other data subjects
connected with you:
       Identity information, such as name, title, place and date of birth, gender, nationality,
       organization name and position, and information from photographic identity documents
       such as driving license or passport information.
       Contact data, such as address and email and personal and business telephone details.




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       Financial and/or employment information including business activities and source of
       funds. If you ask us to provide you with specific legal services, we may also ask you for
       further information relating to your employment.
       Details in respect of political exposure or any actual or alleged criminal convictions.
       Expressions of opinion, including in relation to the performance and other attributes of a
       data subject.
       Marketing and communications data, including preferences in receiving marketing and
       other communications from us.

We will process this data in accordance with this privacy notice, and with Data Protection Law.
Other than as listed above, we do not usually collect 'special categories' of personal data from
our clients, although we may do so if necessary to provide legal services to you, or if otherwise
required by law. ('Special categories' of data include details about race or ethnicity, religious or
philosophical beliefs, sex life, sexual orientation, political opinions, trade union membership, and
health information.)

2.     How we collect personal data

You may provide us with personal data including identity and contact information, marketing and
communications preferences, and financial data when you:
       join us as a client and undergo our 'know your client' and anti-money laundering process;
       correspond with us;


       subscribe to our newsletters and updates.
       We may also obtain or verify information from public sources (such as Companies House)
       and/or third party search agencies for anti-money laundering and audit purposes.
       Information obtained from third parties may include your name (and other family names),
       address, any directorships you hold, political exposure, and any alleged or actual criminal
       offences.

3.     How we use personal data

We process personal data:
       where it is necessary to provide our services to you in accordance with the terms of
       engagement to which this privacy notice is annexed;
       in order to comply with our legal obligations (for example, to comply with anti-money
       laundering legislation and regulatory investigations);
       where the data subject has given his or her consent to the processing; and/or




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       for our legitimate interests or those of any third party recipient of the personal data (for
       example, to enable to administer and manage our operations).

We will only retain this data for as long as is necessary to fulfill the purposes for which it was
collected or to comply with legal, regulatory or internal policy requirements.

4.     How we share your personal data

We will only disclose your personal data where we are required to do so to comply with our legal
or regulatory obligations; where we need to do so for business management or administration
purposes; or because you have asked us to. This is likely to include:
       within the Firm;
       to third parties who process your personal data on our behalf (such as IT systems
       providers and other service providers);
       to third parties who process your personal data on their own behalf but in connection with
       a service provided to us or you on our behalf (such as accountants, consultants, barristers
       and other providers of professional services, and in the case of disputes, with the Court
       or alternative dispute resolution providers);
       to companies providing services for money laundering checks and other fraud and crime
       prevention services;
       in the case of a business reorganization or restructuring, or our assignment or novation
       of our obligations; and/or
       to any government, regulatory agency, enforcement or exchange body or court where we
       are required to do so by applicable law or regulation.

5.     International transfers of personal data

Brown Rudnick is an international law firm. Our provision of legal services to you will entail our
transferring personal data outside of the European Economic Area.

When we transfer your data outside of the EEA to a country which the European Commission
does not deem to have adequate data privacy laws, we will ensure that such transfer(s) are in
accordance with applicable data privacy laws. In respect of transfers within the Firm, we have
executed a data transfer agreement giving effect to the Model Clauses pursuant to Commission
decision 2004/915/EC.

In respect of transfers outside of the firm, we either implement the Model Clauses pursuant to
Commission decision 2004/915/EC or 2010/87/EU (as appropriate) with the recipient of your




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personal data; and/or ensure that the recipient of your data is registered with the EU-US Privacy
Shield.

You can obtain further information in this respect (including a copy of the Model Clauses) by
contacting us.

6.        How we protect your personal data

We are committed to safeguarding and protecting personal data and maintain appropriate
technical and organizational measures to protect any personal data provided to us from
accidental or unlawful destruction, loss, alteration, or unauthorized disclosure. We also have in
place safeguards including data encryption in motion and at rest, data access and security
monitoring, and 24/7 network security monitoring for breaches or anomalous behavior to ensure
the security of your data.

7.        Data subject rights

Under Data Protection Law, data subjects have a number of rights with regard to their personal
data. They have the right to request from us access to and rectification or erasure of their
personal data, the right to restrict or object to processing, as well as in certain circumstances the
right to data portability.

If a data subject has provided consent for the processing of their data, he or she has the right (in
certain circumstances) to withdraw that consent at any time.

Any data subject wishing to exercise any of the above rights should email us at:
gdprcommunications@brownrudnick.com.

We endeavor to respond to such requests within a month or less, although we reserve the right
to extend this period for complex requests. We also reserve the right to charge you a reasonable
administrative fee for any manifestly unfounded or excessive requests concerning access to
personal data, and for any additional copies of the personal data requested from us.

8.        Lodging a complaint with the regulator

Any data subject may lodge a complaint with our data protection regulator if they consider that
we have breached their data protection rights. Our data protection regulator is the Information




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     Wycliffe House, Water Lane, Wilmslow, Cheshire, SK9 5AF, United Kingdom.
     Telephone: 0303 123 1113 (local rate) or (+44) 1625 545 745 (national rate)
     Fax: 01625 524 510
     Email: enquiries@ico.org.uk

We would, however, be grateful if you would contact us in the first instance so we can endeavor
to deal with your concerns direct.

9.       Contacting us

If you have any queries about this privacy notice, or about how your personal data (or personal
data provided by you) is processed, please contact us using the details set out below:
Data Protection Officer at gdprcommunications@brownrudnick.com or you can write to these
individuals at the addresses set out below:

     James Darsigny
     Brown Rudnick LLP
     One Financial Center
     Boston, MA 02111

     Tamara Quailey-Tulloch
     Brown Rudnick LLP
     8 Clifford Street
     London W1S 2LQ




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                                                               EXHIBIT A


                                              Members of Ad Hoc Committee



      Name of Member of Ad Hoc                    Address of member of Ad        Name of corresponding Law
                 Committee                               Hoc Committee                           Firm




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                                     September 13, 2020

Eisenberg, Rothweiler, Winkler,                    Kosnoff Law PLLC
Eisenberg & Jeck, P.C.                             1321 Upland Drive
1634 Spruce Street                                 PMB 4685
Philadelphia, PA 19103                             Houston, TX 77043
Attn: Stewart J. Eisenberg, Esq.                   Attn: Timothy D. Kosnoff, Esq.
Email: stewart@erlegal.com                         Email: Tim@kosnoff.com

AVA Law Group, Inc.                                Andrews & Thornton
3667 Voltaire Street                               4701 Von Karman Ave., Suite 300
San Diego, CA 92106                                Newport Beach, CA 92660
Attn: Andrew Van Arnsdale, Esq.                    Attn: Anne Andrews, Esq.
Email: andrew.vanarsdale@gmail.com                 Email: aa@andrewsthornton.com

Slater Slater Schulman, LLP                        ASK LLP
488 Madison Avenue                                 151 West 46th Street
20th Floor                                         4th Floor
New York, NY 10022                                 New York, NY 10036
Attn: Jonathan E. Schulman, Esq.                   Attn: Edward E. Neiger, Esq.
Email: jschulman@sssfirm.com                       Email: eneiger@askllp.com



        RE: Engagement Agreement

Dear Stewart, Timothy, Andrew, Anne, Jonathan and Edward:


        We are very pleased that the Ad Hoc Committee of Boy Scouts of America Sexual

Abuse Survivors (the “Ad Hoc Committee, “Coalition of Abused Scouts for Justice” or

“Client”), comprised of certain clients (each a “Law Firm Client” and, collectively, the “Law


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MONZACK MERSKY BROWDER AND HOCHMAN
PROFESSIONAL ASSOCIATION


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Firm Clients”) represented by Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C.,

Kosnoff Law PLLC, AVA Law Group, Inc., Andrews & Thornton, Slater Slater Schulman,

LLP, and ASK LLP (collectively, the “Law Firms”), has engaged Monzack Mersky Browder

and Hochman, PA (“Monzack Mersky”) “us,” “we,” “our,” or the “Firm”). The members of

the Ad Hoc Committee are identified on Exhibit A attached hereto.


        The Law Firms each represent and warrant that they have the authority to sign this

Engagement Letter on behalf of their respective Law Firm Clients and bind the Law Firm

Clients to the terms hereof.


I.      Scope of Engagement


        Subject to the acceptance of this Engagement Agreement by the Law Firms on behalf of

their Law Firm Client members of the Ad Hoc Committee, as described herein, we have agreed

to represent the Ad Hoc Committee as bankruptcy counsel as of September 4, 2020 in

connection with In re Boy Scouts of America and Delaware BSA, LLC (the “Debtors” or the

“Company”), Case No. 20-10343 (LSS) (Jointly Administered), pending in the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Case”).


        It is understood that our engagement is with the Ad Hoc Committee as a whole, and not

any individual member thereof. As such, this Engagement Agreement and our engagement by

the Ad Hoc Committee do not create an attorney-client relationship between Monzack Mersky

Browder and Hochman, PA and any individual member of the Ad Hoc Committee. Any such

relationships in other matters are governed by separate retention letters.



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2.      Staffing, Fees, and Expenses


        Our fee structure is generally on the normal hourly rates for the lawyers and paralegals

who will be working on this matter. It is understood and agreed that the services to be rendered

in this matter will be compensated at the following hourly rates:




                         Rachel B. Mersky             $495.00

                         Paralegal Support            $200.00



        Other professionals within the firm may perform legal services in this matter; their

hourly rates are comparable to those listed above. The hourly rates for this firm may be

adjusted in the future. Hourly office charges shall include all legal research, drafts of pleadings,

conferences, telephone conversations with you or other persons, and any other tasks necessary

to handle your matter.



        We will send you detailed, itemized monthly bills reflecting our services. Although the

Law Firms are jointly and severally responsible for payment of our fees hereunder, they may

allocate our fees in a mutually acceptable manner among themselves. As noted above, the

Firm’s fees and related costs and expenses shall be payable monthly, without regard to whether

there are any recoveries on account of the tort claims held by the members of the Ad Hoc

Committee.




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PROFESSIONAL ASSOCIATION


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3.      Replenishing Retainer


        You shall deliver to the Firm a retainer of $25,000 (the "Retainer"). The Retainer, as

well as any future deposits, will be held in the Firm’s client trust account. The Firm will use the

Retainer to pay the fees and other charges you incur. The Firm will typically apply funds in the

Retainer upon or following delivery of monthly statements to you, but reserves the right to

apply funds in the Retainer to pay any fees or other charges at any time after they are incurred

and in such cases will deliver a statement to you following the application of such funds. The

Retainer will be a "replenishing retainer" such that your funds on deposit with the Firm will

remain at no less than $25,000. Within fifteen (15) days after notice from the Firm to you that

all or a portion of the Retainer has been used to pay professional fees and/or costs, you shall

deposit funds with the Firm sufficient to replenish the Retainer to an amount equal to at least

$25,000. If the billing in any monthly cycle exceeds $25,000, you shall pay within fifteen (15)

days after such billing the full amount of such charges so that the Retainer is completely

restored to an amount no less than $25,000 and no receivable balance remains owing from you

to the Firm. In the event that the hours expended are less than the total retainer, the firm will

refund any unearned portion of the retainer.




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PROFESSIONAL ASSOCIATION


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4.      Direction


        The Firm is being retained by the Ad Hoc Committee, and not by any individual member

of the Ad Hoc Committee. The Firm shall not act on behalf of the Ad Hoc Committee in a

manner that is contrary to any direction we receive from the Law Firms.


5.      The Ad Hoc Committee


        We understand, and each member of the Ad Hoc Committee so acknowledges, that each

such member has agreed to come together to form the Ad Hoc Committee because you are

similarly situated tort claimants of the Debtors and you expect that you may have similar views

as to matters relating to the Debtors and the tort claims. Notwithstanding this arrangement and

the execution of this Engagement Agreement: (i) each member of the Ad Hoc Committee

acknowledges that no member has agreed to take on, and no member shall owe, a fiduciary duty

to any of the other members; and (ii) no member has agreed to take on, nothing herein shall

imply, and each member disclaims any fiduciary duty to any other holder of tort claims.

Furthermore, each member acknowledges that it in no way intends or agrees to be deemed a

member of a “group” within the meaning of Rule 13d-5 under the Securities Exchange Act of

1934, as amended, for any purpose other than the resolution of the matters specifically identified

herein, or to be acting in concert in any other manner with any holder which would be in

violation of, or trigger reporting or similar obligations under, applicable law. Furthermore,

neither this arrangement nor any provision of this Engagement Agreement shall (a) prevent any

member of the Ad Hoc Committee from exercising or seeking to enforce or protect its rights

with respect to the Debtors as it may deem appropriate, or (b) otherwise affect any member’s


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PROFESSIONAL ASSOCIATION


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ability to act or forbear from taking any action as it may deem appropriate, including

effectuating any settlement with the Debtors with respect to its tort claim.


        A list of each member of the Ad Hoc Committee as of the date of this letter is attached

hereto as Exhibit “A”. It is expressly understood and agreed that additional members may join

the Ad Hoc Committee. Each member’s confidential information shall remain confidential and

will not be shared with any other member, except with respect to the specific subject matter of

the engagement of the Firm by the Ad Hoc Committee. Each member waives any obligation of

the Firm to disclose to it any information of another member that is to remain confidential as

provided in the foregoing sentence.


6.      Conflicts of Interest


        Our ability to represent any and all of our clients is governed by what are commonly

called Rules of Professional Conduct, which include but are not limited to rules regarding

conflicts of interest between any client of an attorney or law firm and their existing and former

clients. Each member of the Ad Hoc Committee agrees that the Firm has been engaged in this

matter as legal counsel to the Ad Hoc Committee as a whole, and not individually by you or any

other individual member thereof. Each member of the Ad Hoc Committee also understands and

agrees that the Firm therefore will not be prevented due to legal conflicts or Rules of

Professional Conduct of any kind from providing legal or non-legal services to such other

clients in matters that might be directly adverse to you or any other member of the Ad Hoc

Committee or your respective interests (other than in connection with the interests of the Ad

Hoc Committee as a whole as they relate to the Debtors). This means that, subject to the limits


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PROFESSIONAL ASSOCIATION


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described in the Terms, the Firm may represent another client in certain matters in which its

interests are, will be, or have been adverse to the Ad Hoc Committee’s interests.


7.      Communication


        We will work BrownRudnick to keep the Ad Hoc Committee apprised of significant

developments in the course of the engagement and will obtain the Ad Hoc Committee’s

direction on critical issues.




8.      Records



        We will maintain your file and any documents or ancillary materials during the

pendency of the transaction or litigation for which we were retained. Upon conclusion of the

matter, we will give you the opportunity to remove any materials we received from you or on

your behalf. Any materials which are not removed by you will be retained for a period of five

(5) years from the date of conclusion of your matter. At the conclusion of five years, your file,

and all documents and items within it, will be sent for destruction without further notice to you.



9.      Withdrawal



     We reserve the right to withdraw from representing you at any time if you do not honor

your financial commitments to us or, of course, in the event we perceive any conflict of interest

or other ethical consideration.


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PROFESSIONAL ASSOCIATION


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10.     Discharge



        You have the absolute right to discharge us for any reason at any time. We will

promptly turn your file over to you or your new attorney on request.                   You will remain

responsible for all fees and costs incurred through the date of discharge, but payment of our

final statement is not a precondition to the release of your file.



        In representing you in this matter, we cannot, and do not, warrant or predict results or

final developments. Be assured that it is our desire to afford you conscientious, faithful, and

diligent service, seeking at all times to achieve solutions that are just and reasonable to you.




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        If the foregoing meets with your approval, kindly signify your consent and approval by

signing your name in the space provided below, insert the date, and return a copy of this letter to

me.




                                              Very truly yours,



                                              /s/ Rachel Mersky



                                              Rachel B. Mersky

                                              For Monzack Mersky Browder and Hochman, P.A.




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Consented and Agreed to:                       Consented and Agreed to:

EISENBERG, ROTHWEILER,                         KOSNOFF LAW PLLC
WINKLER, EISENBERG & JECK, P.C.

Tax ID No.: __________________                 Tax ID No.: __________________

By:                                            By:
Name:                                          Name:
Title:                                         Title:
Date:                                          Date:

The Eisenberg, Rothweiler, Winkler,            The Kosnoff Law PLLC on behalf of itself
Eisenberg                                      and its Law Firm Clients
& Jeck, P.C. on behalf of itself and its Law
Firm Clients

Consented and Agreed to:                       Consented and Agreed to:

AVA LAW GROUP, INC.                            ANDREWS & THORNTON

              XX-XXXXXXX
Tax ID No.: __________________                 Tax ID No.: __________________

By:                                            By:
Name: Andrew Van Arsdale                       Name:
Title: Managing Partner                        Title:
Date: 9/17/2020                                Date:

The AVA Law Group, Inc. on behalf of itself    The Andrews & Thornton on behalf of itself
and its Law Firm Clients                       and its Law Firm Clients

Consented and Agreed to:                       Consented and Agreed to:

SLATER SLATER SCHULMAN, LLP                    ASK LLP

             45-3913357________
Tax ID No.: __________                         Tax ID No.: __________________

By:                                            By:
Name: Jonathan E. Schulman                     Name:
Title: Partner                                 Title:
Date: 9/14/2020                                Date:
The Slater Slater Schulman, LLP on behalf of   The ASK LLP on behalf of itself and its Law
itself and its Law Firm Clients                Firm Clients



{00218649-2}
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MONZACK MERSKY BROWDER AND HOCHMAN
PROFESSIONAL ASSOCIATION


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Consented and Agreed to:                       Consented and Agreed to:

EISENBERG, ROTHWEILER,                         KOSNOFF LAW PLLC
WINKLER, EISENBERG & JECK, P.C.

Tax ID No.: __________________                 Tax ID No.: __________________

By:                                            By:
Name:                                          Name:
Title:                                         Title:
Date:                                          Date:

The Eisenberg, Rothweiler, Winkler,            The Kosnoff Law PLLC on behalf of itself
Eisenberg                                      and its Law Firm Clients
& Jeck, P.C. on behalf of itself and its Law
Firm Clients

Consented and Agreed to:                       Consented and Agreed to:

AVA LAW GROUP, INC.                            ANDREWS & THORNTON

Tax ID No.: __________________                 Tax ID No.: __________________

By:                                            By:
Name:                                          Name:
Title:                                         Title:
Date:                                          Date:

The AVA Law Group, Inc. on behalf of itself    The Andrews & Thornton on behalf of itself
and its Law Firm Clients                       and its Law Firm Clients

Consented and Agreed to:                       Consented and Agreed to:

SLATER SLATER SCHULMAN, LLP                    ASK LLP

             45-3913357________
Tax ID No.: __________                         Tax ID No.: __________________

By:                                            By:
Name: Jonathan E. Schulman                     Name:        Joseph L. Steinfeld, Jr.
Title: Partner                                 Title:          Managing Partner
Date: 9/14/2020                                Date:      September 16, 2020
The Slater Slater Schulman, LLP on behalf of   The ASK LLP on behalf of itself and its Law
itself and its Law Firm Clients                Firm Clients



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                                           EXHIBIT A

                                   Members of Ad Hoc Committee

       Name of Member of Ad         Address of member of Ad   Name of corresponding Law
          Hoc Committee                 Hoc Committee                   Firm




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                             Rachel B. Mersky




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3.      Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled "Staffing, Fees, and Expenses", the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1. 7 of the
Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand
effective as of September 29th, 2020.

                                              By:
                                              Junell & Associates, PLLC


                                              By:_--f----1-"-----------­
                                                N e· Harris Junell
                                                Titl . Managing Partner


                                              BROWN RUDNICK LLP



                                              By:--------------
                                                Name: Sunni P. Beville



                                              MONZACK MERSKY BROWDER AND
                                              HOCHMAN, P.A.


                                              By:____________
                                                Name: Rachel B. Mersky




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                                 Rachel B. Mersky




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                                            EXHIBIT E

                                 Engagement Letter Joinder Form

               AMENDMENT AND JOINDER TO ENGAGEMENT LETTERS


      This AMENDMENT AND JOINDER TO ENGAGEMENT LETTER dated as of
[DATE] by and between (a) [FIRM] (the “New Voting Representative”) (b) Brown Rudnick
LLP and Monzack Mersky Browder and Hochman, P.A. (together, “Counsel”), both on their
own behalf and as Counsel to the Coalition of Abused Scouts for Justice (the “Coalition”) (this
document, the “Amendment and Joinder Agreement”).

       WHEREAS, the Coalition is governed by those Bylaws effective as of September 14,
2020 (the “Bylaws”);

        WHEREAS, Brown Rudnick and the Coalition have entered into that certain Engagement
Letter dated as of July 21, 2020 (“BR Engagement Letter”);

       WHEREAS, Monzack Mersky Browder and Hochman, P.A. Rudnick and the Coalition
have entered into that certain Engagement Letter dated as of September 13, 2020 (the “MMBH
Engagement Letter”);

       WHEREAS, the Bylaws of the Coalition provide that it may retain additional
professionals upon appropriate documentation (such documentation, if any, which shall be
disclosed with particularity as of the date hereof to the extent existing, together with the BR
Engagement Letter and MMBH Engagement Letter, the “CASJ Engagement Letters”); and

       WHEREAS, Counsel and New Voting Representative have agreed to amend the CASJ
Engagement Letters pursuant to the terms and conditions hereof and to allow New Voting
Representative to join the Coalition as a Voting Representative for all purposes under the Bylaws
and the CASJ Engagement Letters.

       NOW, THEREFORE, in consideration of the foregoing, the mutual agreements herein
contained and other good and valuable consideration, the receipt and adequacy of which are
hereby acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

1.    Definitions. Capitalized terms not otherwise defined herein have the same respective
meanings given to them in the Bylaws as of the date hereof.

2.      Joinder. New Voting Representative agrees to join the CASJ Engagement Letters as a
“Law Firm” for all purposes thereunder. Counsel agrees to the New Voting Representative
joining the CASJ Engagement Letters as a Law Firm.




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3.      Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled “Staffing, Fees, and Expenses”, the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1.7 of the
Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand
effective as of 9/23/2020.

                                             By: Adam Krause


                                             By:________________________________
                                               Name: Adam Krause
                                               Title: Partner


                                             BROWN RUDNICK LLP



                                             By:________________________________
                                               Name: Sunni P. Beville



                                             MONZACK MERSKY BROWDER AND
                                             HOCHMAN, P.A.


                                             By:________________________________
                                               Name: Rachel B. Mersky




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3.      Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled “Staffing, Fees, and Expenses”, the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1.7 of the
Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand
effective as of 9/23/2020.

                                             By: Adam Krause


                                             By:________________________________
                                               Name: Adam Krause
                                               Title: Partner


                                             BROWN RUDNICK LLP



                                             By:________________________________
                                               Name: Sunni P. Beville



                                             MONZACK MERSKY BROWDER AND
                                             HOCHMAN, P.A.


                                             By:________________________________
                                               Name: Rachel B. Mersky




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                                            EXHIBIT E

                                 Engagement Letter Joinder Form

               AMENDMENT AND JOINDER TO ENGAGEMENT LETTERS


       This AMENDMENT AND JOINDER TO ENGAGEMENT LETTER dated as of
October 6, 2020 by and between (a) Motley Rice LLC (the “New Voting Representative”) (b)
Brown Rudnick LLP and Monzack Mersky Browder and Hochman, P.A. (together, “Counsel”),
both on their own behalf and as Counsel to the Coalition of Abused Scouts for Justice (the
“Coalition”) (this document, the “Amendment and Joinder Agreement”).

       WHEREAS, the Coalition is governed by those Bylaws effective as of September 14,
2020 (the “Bylaws”);

        WHEREAS, Brown Rudnick and the Coalition have entered into that certain Engagement
Letter dated as of July 21, 2020 (“BR Engagement Letter”);

       WHEREAS, Monzack Mersky Browder and Hochman, P.A. Rudnick and the Coalition
have entered into that certain Engagement Letter dated as of September 13, 2020 (the “MMBH
Engagement Letter”);

       WHEREAS, the Bylaws of the Coalition provide that it may retain additional
professionals upon appropriate documentation (such documentation, if any, which shall be
disclosed with particularity as of the date hereof to the extent existing, together with the BR
Engagement Letter and MMBH Engagement Letter, the “CASJ Engagement Letters”); and

       WHEREAS, Counsel and New Voting Representative have agreed to amend the CASJ
Engagement Letters pursuant to the terms and conditions hereof and to allow New Voting
Representative to join the Coalition as a Voting Representative for all purposes under the Bylaws
and the CASJ Engagement Letters.

       NOW, THEREFORE, in consideration of the foregoing, the mutual agreements herein
contained and other good and valuable consideration, the receipt and adequacy of which are
hereby acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

1.    Definitions. Capitalized terms not otherwise defined herein have the same respective
meanings given to them in the Bylaws as of the date hereof.

2.      Joinder. New Voting Representative agrees to join the CASJ Engagement Letters as a
“Law Firm” for all purposes thereunder. Counsel agrees to the New Voting Representative
joining the CASJ Engagement Letters as a Law Firm.




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3.      Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled “Staffing, Fees, and Expenses”, the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1.7 of the
Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand
effective as of [DATE].

                                             MOTLEY RICE LLC




                                             By:________________________________
                                               Name: Daniel Lapinski
                                               Title: Member


                                             BROWN RUDNICK LLP



                                             By:________________________________
                                               Name: Sunni P. Beville



                                             MONZACK MERSKY BROWDER AND
                                             HOCHMAN, P.A.


                                             By:________________________________
                                               Name: Rachel B. Mersky




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3.      Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled “Staffing, Fees, and Expenses”, the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1.7 of the
Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand
effective as of [DATE].

                                             MOTLEY RICE LLC




                                             By:________________________________
                                               Name: Daniel Lapinski
                                               Title: Member


                                             BROWN RUDNICK LLP



                                             By:________________________________
                                               Name: Sunni P. Beville



                                             MONZACK MERSKY BROWDER AND
                                             HOCHMAN, P.A.


                                                   Rachel B. Mersky
                                             By:________________________________
                                               Name: Rachel B. Mersky




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                                        Privileged and Confidential/Subject to Common Interest

                                            EXHIBIT E

                                 Engagement Letter Joinder Form

               AMENDMENT AND JOINDER TO ENGAGEMENT LETTERS


      This AMENDMENT AND JOINDER TO ENGAGEMENT LETTER dated as of
[DATE] by and between (a) [FIRM] (the “New Voting Representative”) (b) Brown Rudnick
LLP and Monzack Mersky Browder and Hochman, P.A. (together, “Counsel”), both on their
own behalf and as Counsel to the Coalition of Abused Scouts for Justice (the “Coalition”) (this
document, the “Amendment and Joinder Agreement”).

       WHEREAS, the Coalition is governed by those Bylaws effective as of September 14,
2020 (the “Bylaws”);

        WHEREAS, Brown Rudnick and the Coalition have entered into that certain Engagement
Letter dated as of July 21, 2020 (“BR Engagement Letter”);

       WHEREAS, Monzack Mersky Browder and Hochman, P.A. Rudnick and the Coalition
have entered into that certain Engagement Letter dated as of September 13, 2020 (the “MMBH
Engagement Letter”);

       WHEREAS, the Bylaws of the Coalition provide that it may retain additional
professionals upon appropriate documentation (such documentation, if any, which shall be
disclosed with particularity as of the date hereof to the extent existing, together with the BR
Engagement Letter and MMBH Engagement Letter, the “CASJ Engagement Letters”); and

       WHEREAS, Counsel and New Voting Representative have agreed to amend the CASJ
Engagement Letters pursuant to the terms and conditions hereof and to allow New Voting
Representative to join the Coalition as a Voting Representative for all purposes under the Bylaws
and the CASJ Engagement Letters.

       NOW, THEREFORE, in consideration of the foregoing, the mutual agreements herein
contained and other good and valuable consideration, the receipt and adequacy of which are
hereby acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

1.    Definitions. Capitalized terms not otherwise defined herein have the same respective
meanings given to them in the Bylaws as of the date hereof.

2.      Joinder. New Voting Representative agrees to join the CASJ Engagement Letters as a
“Law Firm” for all purposes thereunder. Counsel agrees to the New Voting Representative
joining the CASJ Engagement Letters as a Law Firm.




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                                        Privileged and Confidential/Subject to Common Interest

3.      Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled “Staffing, Fees, and Expenses”, the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1.7 of the
Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand
effective as of September 29, 2020.

                                             By:
                                             NAPOLI SHKOLNIK PLLC


                                             By:________________________________
                                               Name: Hunter J. Shkolnik
                                               Title: Senior Partner


                                             BROWN RUDNICK LLP



                                             By:________________________________
                                               Name: Sunni P. Beville



                                             MONZACK MERSKY BROWDER AND
                                             HOCHMAN, P.A.


                                                  Rachel B. Mersky
                                             By:________________________________
                                               Name: Rachel B. Mersky




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                                Engagement Letter Joinder Form

               AMENDMENT AND JOINDER TO ENGAGEMENT LETTERS


        This AMENDMENT AND JOINDER TO ENGAGEMENT LETTER dated as of
September 25, 2020 by and between (a) Reich and Binstock, LLP (the “New Voting
Representative”) (b) Brown Rudnick LLP and Monzack Mersky Browder and Hochman, P.A.
(together, “Counsel”), both on their own behalf and as Counsel to the Coalition of Abused Scouts
for Justice (the “Coalition”) (this document, the “Amendment and Joinder Agreement”).

       WHEREAS, the Coalition is governed by those Bylaws effective as of September 14, 2020
(the “Bylaws”);

        WHEREAS, Brown Rudnick and the Coalition have entered into that certain Engagement
Letter dated as of July 21, 2020 (“BR Engagement Letter”);

       WHEREAS, Monzack Mersky Browder and Hochman, P.A. Rudnick and the Coalition
have entered into that certain Engagement Letter dated as of September 13, 2020 (the “MMBH
Engagement Letter”);

        WHEREAS, the Bylaws of the Coalition provide that it may retain additional professionals
upon appropriate documentation (such documentation, if any, which shall be disclosed with
particularity as of the date hereof to the extent existing, together with the BR Engagement Letter
and MMBH Engagement Letter, the “CASJ Engagement Letters”); and

       WHEREAS, Counsel and New Voting Representative have agreed to amend the CASJ
Engagement Letters pursuant to the terms and conditions hereof and to allow New Voting
Representative to join the Coalition as a Voting Representative for all purposes under the Bylaws
and the CASJ Engagement Letters.

       NOW, THEREFORE, in consideration of the foregoing, the mutual agreements herein
contained and other good and valuable consideration, the receipt and adequacy of which are hereby
acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

1.    Definitions. Capitalized terms not otherwise defined herein have the same respective
meanings given to them in the Bylaws as of the date hereof.

2.    Joinder. New Voting Representative agrees to join the CASJ Engagement Letters as a
“Law Firm” for all purposes thereunder. Counsel agrees to the New Voting Representative joining
the CASJ Engagement Letters as a Law Firm.




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3.       Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled “Staffing, Fees, and Expenses”, the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1.7 of the Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand effective
as of September 25, 2020.

                                               By: REICH AND BINSTOCK, LLP

                                               By:________________________________
                                                 Name: Dennis Reich


                                               BROWN RUDNICK LLP

                                               By:________________________________
                                                 Name: Sunni P. Beville


                                               MONZACK MERSKY BROWDER AND
                                               HOCHMAN, P.A.

                                               By:________________________________
                                                 Name: Rachel B. Mersky




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3.       Amendment. Counsel and New Voting Representative agree that, notwithstanding any
provisions in the Engagement Letter to the contrary, including the Sections of the Engagement
Letter titled “Staffing, Fees, and Expenses”, the New Voting Representative shall be required to
pay its ratable proportion of the costs of the Coalition in accordance with Article 1.7 of the Bylaws.

4.      Effect. Except as expressly set forth herein, (i) the execution, delivery, and performance
of this Amendment and Joinder Agreement shall not operate as a modification or amendment to
the CASJ Engagement Letters and (ii) the CASJ Engagement Letters shall be and remain in full
force and effect in accordance with their terms and are ratified and confirmed in all respects.

5.     Counterparts. This Amendment and Joinder Agreement may be executed in counterparts,
each of which shall be considered an original, and together shall be considered one and the same
document.


        IN WITNESS WHEREOF, each of the undersigned has hereunto set his/her hand effective
as of September 25, 2020.

                                               By: REICH AND BINSTOCK, LLP

                                               By:________________________________
                                                 Name: Dennis Reich


                                               BROWN RUDNICK LLP

                                               By:________________________________
                                                 Name: Sunni P. Beville


                                               MONZACK MERSKY BROWDER AND
                                               HOCHMAN, P.A.

                                                    Rachel B. Mersky
                                               By:________________________________
                                                 Name: Rachel B. Mersky




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                        EXHIBIT A-3

       State Court Counsel Exemplar Engagement Letters




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                PROFESSIONAL EMPLOYMENT AGREEMENT

I.      Purpose of Representation: The undersigned hereby agree(s) to employ
Eisenberg Rothweiler, Kosnoff Law, and AVA Law Group as attorneys-at-law to
represent the undersigned in claims against the Boy Scouts ofAmerica. The undersigned
agrees that said attorneys are granted the right to associate with other law firms in the
prosecution of the claim, if they feel that such is in the client(s) best interests.

II.     Scope of Representation: By signing this Engagement Agreement, you
understand and agree that AIS Counsel is committing to represent you only in
connection with the February 18, 2020 bankruptcy filing, or a related global
resolution of sex abuse claims against BSA. You have the right to terminate the
representation at any time, subject to our right to recoup fees and expenses as
provided by law.

III.    Attorney’s Fee: In consideration for services rendered, it is agreed that the
undersigned will pay to said attorneys a sum equal to     of any amount recovered,
whether by compromise before suit is filed, or compromise or judgment after suit is
filed. The     attorney’s fee shall be split:     to Eisenberg Rothweiler,         to
Kosnoff Law, and        to AVA Law Group. It is agreed that the undersigned will
owe no fees to said attorneys if nothing is received or recovered on behalf of the
undersigned.

IV.      Expenses: After deduction of said attorney's fees from any recovery, it is
agreed that the undersigned will reimburse said attorneys for any court costs, medical
records retrieval costs, cost of carry, and other expenses incurred or advanced by
said attorneys in handling such claims on behalf of the undersigned. It is agreed that
the undersigned will owe no expenses to said attorneys if nothing is received or
recovered on behalf of the undersigned.

        SIGNED AND AGREED on this                  day of                         20      .

AGREED and APPROVED:

Client’s Printed Name:

Client’s Signature:

Client’s SSN:

Client’s DOB:                                       _


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Andrews & Thornton | ASK LLP
Attorney-Client Contingency Fee Retainer Agreement

Boy Scouts of America – Attorney-Client Agreement

ANDREWS         &    THORNTON,        AAL,     ALC    and     ASK      LLP     (the   “Firms”)     and
________________________ (“Client”) hereby agree that Firms will provide legal services to Client to
recover a monetary claim in bankruptcy court against Boy Scouts of America and any related co-
Debtors (jointly, “BSA”) in BSA’s Chapter 11 bankruptcy action, as explained in more detail below.


1.    LIMITED REPRESENTATION. Client hereby retains the Firms to represent Client for the limited
      purpose of filing of bankruptcy claims against BSA. This limited representation includes the
      following:


     a.   Firms are not bringing any claims outside of bankruptcy proceedings. Firms are only
          handling the processing of Client’s claims against BSA. This means that Firms will not be filing
          any lawsuits or bringing any claims against any party outside of the bankruptcy process,
          including but not limited to any parents, volunteers, outside organizations, or other individuals. If
          Client wishes to pursue any claims against any entity outside of the bankruptcy court process,
          Client will need to immediately hire separate counsel.


     b.   Firms are not taking action to preserve claims or protect the statute of limitations. A
          statute of limitations is the legal deadline within which you must file a civil claim. If Client does
          not file a claim within the applicable statute of limitations, Client’s claim may be lost forever.
          Client understands that Firms are not taking any action to file claims against any parties within
          the applicable statute of limitations. If the statute of limitations expires after you have signed this
          agreement but before another responsible entity declares bankruptcy, your bankruptcy claim
          may be lost forever. If Client wishes to preserve claims and not have them lost forever because
          the statute of limitation has expired, Client will need to immediately hire separate counsel.

2. ASSOCIATION OF COUNSEL. Client understands and agrees that the two separate law firms of
ANDREWS & THORNTON AAL, ALC and ASK LLP will be associating on this matter. Client
authorizes the Firms to associate co-counsel as the Firms may deem necessary and to share any
fees contemplated in this contract with such co-counsel with the express understanding that
associating with co-counsel will NOT increase the fees set forth below.

3.    WITHDRAWAL AFTER INVESTIGATION.                      Even after Client signs this Attorney-Client
Agreement, Client acknowledges that it has been advised that the Firms still must investigate Client’s
claim relating to any potential future bankruptcy proceeding, and that Firms may terminate this
agreement and/or not pursue certain entities after such investigation. Client has been further advised
that the Firms’ decision to terminate this agreement and/or not pursue certain entities may be based
on any number of factors, including but not limited to a failure to establish a causal connection
between the facts reported and the Client’s injuries, failure to comply with any state or other
applicable statute of limitation failure to include an indispensable or other required party.

4. PROSECUTION OF CLAIM. Client hereby fully empowers, authorizes and directs the Firms to
manage and handle, as they deem necessary, best and proper, said claim relating to any potential
future bankruptcy proceeding, and to prosecute said claim in any manner they deem advisable. The
Firms are hereby authorized and empowered to deliver in Client’s name any and all notices, receipts,
authorizations, releases, pleadings and any other documents and instruments proper in the handling
of said claim.

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5. CLIENT'S RESPONSIBILITIES. The Client agrees to cooperate fully with the Firms, disclose all
relevant facts at all times during the claim and to promptly advise the Firms of any change in address,
email address or telephone number. Client authorizes the Firms to use their professional judgment
and any relevant documents, records or other information that the Firms deem necessary to the
proper representation of the Client. The Client agrees to promptly and fully comply with all reasonable
requests of the Firms on all matters included in this contract. The Client understands that failure to
fully cooperate may be a basis for termination of this contract. Client further agrees that the Firms
may withdraw from representing the Client if the Firms deem withdrawal is warranted.

The Client agrees not to attempt on his part to unilaterally settle all or any portion of the claims made
the subject of this contract. The Client will rely exclusively upon the representation of the Firms during
any settlement negotiations. No settlement will be made without the Client's consent.

6. CONTINGENT FEE ARRANGEMENT. The Firms, and co-counsel if any, will assume joint
responsibility for representation of the Client. Attorneys' fees due Firms will be a percentage of the
recovery. In consideration of the services rendered, and to be rendered, to the Client by the Firms,
the Client agrees to grant to the Firms for the Firms’ compensation in handling the Client's bankruptcy
claim the following present undivided interest and assignment in the claims:                       The
fee percentage calculation will be made based on the gross recovery before deduction of any
expenses. In the event there is no recovery, Client owes Firms nothing.

ANDREWS & THORNTON, AAL, ALC, and ASK LLP will associate on this matter and have agreed to
split any fee collected under the terms of this agreement in the following manner: to ANDREWS
& THORNTON and            to ASK LLP.

If contingent attorney's fees are limited by law in the state where Client resides or the bankruptcy
court, the percentage of the recovery Client owes will be the maximum allowed in Client’s state of
residence but, the percentages set forth above will be the maximum Client owes.

Client hereby grants the Firms a lien on any and all recovery from the claims which is subject of
Firms’ representation under this agreement. The lien will attach to any recovery Client may obtain,
whether by arbitration award, judgment, settlement or otherwise.

7. NEGOTIABILITY OF FEES.           The rates set forth above are not set by law, but are negotiable
between the Firms and Client.

8. EXPENSES. The Firms agree to advance for any and all reasonable expenses associated with the
prosecution of client's claim. In the event of a recovery, the Client understands and agrees that Firms
will be paid all reasonable costs, charges or expenses made or incurred by the Firms in the Firms’
handling of the Client’s claim and causes of action, including but not limited to expenses or charges
for obtaining medical records, court costs, filing fees, depositions, expert witnesses, expert
consultants, copying and review of voluminous documents, postage, research, computerized
document management, conference calls, jury consultants, travel, and costs relating to the
depositions of defendants' representatives, witnesses, and agents. If a matter requires experience or
expertise uncommon to the Firms, outside counsel may be obtained. Client understands that
Attorneys may represent numerous other similarly injured clients and Client agrees that the term
"expenses" includes general expenses incurred for the benefit of all such similarly injured clients,

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including but not limited to retaining and compensating experts, copying and review of voluminous
documents, postage, research, computerized document management, conference calls, jury
consultants, travel, and costs relating to the depositions of Debtors’ representatives, witnesses, and
agents. Such general expenses will be allocated equitably among all benefited claimants (usually in
proportion with the client’s recovery).

Costs advanced will be payable out of the Client’s share of any recovery and will not affect the
contingency rate or fees due to the Firms. Client hereby assigns and grants to the Firms as a lien that
portion of the gross proceeds recovered that is equal to the total amount of costs and expenses
advanced.

Additionally, Client understands that if Client’s case proceeds to court action or arbitration, and if
Client loses the case, that the court may award the winning party certain fees and/or costs against the
Client. Client understands that there may be opportunities to settle such an award without payment.

9. RECEIPT AND DISBURSEMENT OF CASE RECOVERY. All proceeds of Client’s case shall be
deposited into one of the Firms’ trust accounts for disbursement in accordance with the provisions of
this Agreement. Client grants to Firms a power of attorney to execute financial instruments for
deposits into Client’s trust account. Client will receive an accounting for approval before
disbursement.

10. POWER OF ATTORNEY TO SIGN FOR CLIENT. There may be times when it is necessary to
submit the Client’s signature on documents. Generally, an attempt will be made to obtain Client’s
signature. However, in those situations where it is necessary to protect the Client’s rights from a
deadline, Client authorizes the Firms to sign documents on his or her behalf.

11. CONFLICT OF INTEREST: REPRESENTATION OF OTHER INDIVIDUAL CLAIMANTS Firms
represent other individuals whose claims may be pursued in bankruptcy. By its nature, the funds
available to claimants in a bankruptcy will be limited, and because the Firms could be representing
multiple parties with respect to multiple claims in that bankruptcy, there is a conflict of interest. By
signing this agreement, Client waives any conflict of interest.

12.    NO GUARANTEES. No guarantees have been made as to what amounts, if any, Client may
be entitled to recover in this case.

13.     TERMINATION OF REPRESENTATION. Either party may terminate the representation at any
time, subject to Firms’ obligations under the Rules of Professional Conduct and the approval of the
court if the matter is in litigation. In the event the Client recovers nothing or, after investigation, Firms
or Client decides not to pursue the claims, Client will not be responsible for any fees, costs or
expenses. If, however, Client terminates attorney and pursues a recovery, with or without another
attorney, Client agrees to pay attorney the fair rate for time expended on the matters as well as
reimbursement of costs and expenses. If there is any disagreement concerning the fee charged
hereunder, the parties agree to submit that disagreement to binding arbitration with the Fee
Arbitration Committee of the state bar for a jurisdiction in which the principal attorney(s) handling the
matter is licensed.

14. REVIEW AND UNDERSTANDING OF AGREEMENT.                        Client acknowledges review and
understanding of this agreement, having read its contents in its entirety, and Client understands and

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agrees with all of its provisions. Client acknowledges that Firms, their employees or agents, has
made no guarantee regarding the successful determination of client’s claim or causes of action, nor
any guarantees regarding the amount of recovery or the type of relief, if any, which Client may obtain
there from.

This Agreement must be signed by both attorneys and client to be valid.

ACCEPTED:

This _______day of                        , 2020, at                                     .
      [Day]                [Month]                             [City, State]




________________________________
CLIENT:




ACCEPTED:



                                                By: _____________________________
                                                ANDREWS & THORNTON, AAL, ALC
                                                ANNE ANDREWS
                                                JOHN C. THORNTON
                                                Attorneys at Law

                                                ASK LLP
                                                ED NEIGER
                                                Attorney at Law



You are entitled to receive a copy of this agreement with signatures by both the Attorney and Client
for your records. If you do not receive a copy of the signed agreement within 30 days of returning it to
Attorney, please call and we will send another copy.

PCF: MG




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                                                                                                  JUNELL & ASSOCIATES, PLLC
                                                                                           3737 BUFFALO SPEEDWAY, SUITE 1850
                                                                                                       HOUSTON, TEXAS 77098
                                                                                                                (713) 351-0350
                                                                                                            www.junell-law.com
                                                                                                   EMAIL: bsa@junell-law.com




                POWER OF ATTORNEY AND EMPLOYMENT AGREEMENT
                            BOY SCOUTS LITIGATION
        This Employment Agreement ("Agreement") between                                                          (“Client”), and
Junell & Associates, PLLC ("Attorneys" or "J&A"), is for legal representation in prosecuting the Client’s causes of action.
Client authorizes Attorneys to investigate, institute and prosecute a lawsuit for Client’s causes of action against The Boy
Scouts Of America (“Defendant”) arising from injuries relating to Client’s sexual abuse as a minor.

         CONTINGENT FEE. The fee to be paid will be a percentage of the “gross recovery”. The term “gross recovery”
means the total of all amounts received by settlement, arbitration award or judgment and shall include any amount received
from the Extraordinary Injury Fund (EIF). The fee will be calculated before the deduction of any costs, liens and expenses
as set forth below, which will remain the responsibility of Client to be paid from the portion of any amounts received by
Client after deduction of the fee. The Attorneys’ fee shall be calculated as                      of the gross recovery. If
the Attorneys are not successful in obtaining a recovery for Client, the Client will not owe any fees or expenses to the
Attorneys.

         EXPENSES. Client agrees that the Attorneys will advance all costs and expenses which, in the opinion of the
Attorneys, are reasonably necessary for the development of the case, and that those expenses will be reimbursed from the
net recovery after attorney fees are deducted. Such expenses include, but are not limited to, filing fees, expert fees,
investigator fees, depositions, postage, couriers, medical records, nurse and medical review performed by a third-party
medical review company, and/or other third-party vendors, reasonable travel expenses incurred on behalf of the Client, and
common expenses that are properly chargeable for the investigation, preparation, trial and/or settlement of more than one
client’s cause of action. Common expenses are routinely shared by more than one claimant and shall be deducted from the
client’s recovery in an equitable and reasonably proportionate manner. Client understands that the expenses, which have
been advanced, will be deducted from the net proceeds payable to the Client after deduction of attorneys' fees. If Attorneys
do not obtain a settlement or recovery for the Client, then the Client is not responsible for and will not pay any fees
or expenses to the Attorneys.

        ASSOCIATE COUNSEL. Client understands and agrees that J&A may associate other lawyers to assist in
representing Client, subject to Client’s consent. The Client will pay no more in fees with the inclusion of associate counsel
than the Client would pay pursuant to this contract if J&A solely represented Client. Any fee sharing among Associate
Counsel, consented to by Client, shall be after deduction of any court imposed steering committee fees. However, Client
agrees to pay costs incurred by associate counsel on Client's behalf in the same manner and to the same extent that Client
has agreed to pay J&A’s costs.

         SETTLEMENT NEGOTIATIONS / GROUP SETTLEMENT. No settlement shall be made without Client’s
consent and approval. Client agrees to seriously consider any settlement offer Attorneys recommend before making a
decision to accept or reject such offer. Client agrees not to make any settlement or compromise of any nature of any of
Client's claims without prior notice to Attorneys. Client grants Attorneys the power of attorney to execute all documents
connected with the claim for the prosecution of which the attorney is retained, including pleadings, contracts, checks or
drafts, settlement agreements, compromises, releases, verifications, dismissals, and orders, as well as all other documents
which the Client could properly execute. Client understands this suit may be handled as part of a larger number of cases
which may be aggregated for settlement and/or trial preparation. Client understands that as a part of an aggregate settlement,
Client may be subject to a multidistrict litigation fee assessment ordered by an MDL judge to reimburse court-appointed
attorneys for the organization of nationwide litigation and that this fee may not be considered part of the        contingent
fee owed to J&A Attorneys. Client authorizes the Attorneys to enter into aggregate settlement negotiations and to disclose


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the amount of the proposed settlement, the nature and extent of Client's injuries, and other factors relevant to the evaluation
of settlement values to other clients whose cases are included in the aggregate of cases.

         CLIENT ACKNOWLEDGMENTS. Client understands that the statute of limitations period for his/her case must
be investigated and that this agreement is made subject to that investigation as well as the investigation of Client’s entire
case. Client agrees to cooperate with the Attorneys at all times, to comply with reasonable requests, and to ensure that
Attorneys are regularly apprised of current contact information, including address, phone numbers and email. In the event
that Client needs to report any changes, Client will call (713) 351-0350 or email the Attorneys at bsa@junell-law.com as
soon as possible. Client agrees to immediately inform Attorneys of any and all liens and potential liens on Client’s
settlement, including healthcare liens and any loans Client may obtain using this cause of action as security. Client also
authorizes Attorneys to disclose information necessary to the advancement of Client’s case to third parties, including, but
not limited to, lien resolution providers, trustees, and finance/bank vendors. Client understands and agrees that all
communications with Defendant and/or Defendant’s counsel shall be through Attorneys, and Client will not engage in
communications with Defendant and/or Defendant’s counsel. Client understands and agrees that information regarding
Client’s lawsuit is strictly confidential and shall not be discussed with anyone other than the Attorneys and staff representing
Client. Therefore, Client will not share information relating to Client’s claims on social media platforms. Client understands
that Attorneys have made no guarantee or assurances regarding the likelihood of success of Client's claim.

        PRE-SETTLEMENT FUNDING. Client represents he/she has not received pre-settlement funding from third
party lenders related to this litigation or Client has informed Attorneys of any outstanding pre-settlement funding lien held
by third party lenders related to this litigation. Client understands that J&A does not recommend that clients obtain pre-
settlement funding based upon a contingent settlement due to the extremely high rate of interest incurred over time. Client
understands that if Attorneys are successful in obtaining a settlement or recovery, the full loan amount, including any
accrued interest, will be deducted from any amount of gross recovery. Client understands that Attorneys have no obligation
to negotiate with third-party lenders on Client’s behalf and that any dispute arising out of the third-party loan will not be
handled by Attorneys.

        TERMINATION. Attorneys may withdraw from representation of Client (a) with Client's consent (b) upon court
approval, or (c) if no court action has been filed, for good cause and upon reasonable notice to Client. Good cause includes
Client's breach of this contract, Client's refusal to cooperate with Attorneys or to follow Attorneys’ advice on a material
matter or any other fact or circumstance that would render Attorneys’ continuing representation unlawful, unethical or
unreasonably difficult. Attorneys will maintain Client’s file in an electronic format for four (4) years after this matter is
concluded. Client may request the file at any time during, upon conclusion of, or after conclusion of, this matter. Thereafter,
the file may be destroyed without further notice to Client. Client’s file consists of all documentation pertaining to Client’s
individual case, including medical records, settlement documents provided to Client, correspondence between Attorney and
Client, Attorney notes and work product relating to Client’s case, invoices and billing records related to expenses charged
to Client, and communication between Attorneys related to Client’s case specifically.

         BANKRUPTCY. Client represents he/she is not involved in a current bankruptcy or Client has informed Attorneys
of involvement in any past or current bankruptcies and Client has notified the bankruptcy trustee of potential recovery.
Client understands that filing for bankruptcy in the past or at any point throughout this litigation may impact the Client’s
ability to retain some or all of any recovery in this matter. By law, the trustee of the bankruptcy estate must be put on notice
of the settlement and may choose to re-open the bankruptcy and may claim a portion or all of the settlement money. Client
understands that Attorneys are being retained for this litigation only and do not represent Client in any capacity related to
re-opened or future bankruptcy filings. Additionally, the client agrees to pay any additional bankruptcy processing fees
incurred by a third-party bankruptcy coordination team which are required to disburse settlement funds. Client understands
that he or she is obligated to keep the Attorneys informed of any bankruptcy filing. Client further understands that failure
to disclose this lawsuit in a bankruptcy proceeding may result in a dismissal of this lawsuit and possibly sanctions by the
bankruptcy court.

         ESTATE, GUARDIANSHIP AND/OR PROBATE. The employment for an estate, guardianship, or probate
matter is based on hourly work and is not covered under this contingent fee agreement. In the event a recovery is made,
Client understands that Attorneys do not specialize in complex guardianship and/or probate matters and that the guardian
or estate representative will be responsible for obtaining local counsel to assist in probate or guardianship matters. The
Client agrees that any additional probate processing fees, to include attorney and paralegal fees plus probate costs, will be
deducted from the guardian or estate’s net share of any fees recovered as an added expense. However, there remains no
obligation to reimburse fees or costs incurred on the client’s behalf if Attorneys make no recovery.
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         GENERAL PROVISIONS. This Agreement contains the entire Agreement of the parties. No other agreement,
statement, or promise made on or before the effective date of this Agreement will be binding on the parties. If any provision
of this Agreement is held in whole or in part to be unenforceable for any reason, the remainder of that provision and of the
entire Agreement will be severable and remain in effect. This Agreement may be modified by subsequent Agreement of the
parties only by an instrument in writing signed by both of them or an oral agreement only to the extent that the parties carry
it out.

        DISPUTE RESOLUTION BY ARBITRATION.       THIS CONTRACT SHALL BE CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS. CLIENT AND ATTORNEY HEREBY AGREE
THAT ALL DISPUTES, CONTROVERSIES, CLAIMS OR DEMANDS ARISING OUT OF OR RELATING TO
INTERPRETATION, ENFORCEMENT OR ALLEGED BREACH OF THIS CONTRACT SHALL BE SUBMITTED TO
BINDING ARBITRATION, WHICH SHALL ONLY BE BROUGHT IN HARRIS COUNTY, TEXAS, WHERE THIS
CONTRACT IS TO BE PERFORMED. ANY SUCH ARBITRATION SHALL PROCEED IN ACCORDANCE WITH
THE RULES OF THE AMERICAN ARBITRATION ASSOCIATION INCLUDING THE SELECTION OF
ARBITRATORS. THE ARBITRATION AWARD SHALL BE FINAL, BINDING AND NON-APPEALABLE. ANY
FEES AND EXPENSES REASONABLY INCURRED THROUGH SUCH ARBITRATION SHALL BE REIMBURSED
BY THE LOSING PARTY TO THE PREVAILING PARTY. CLIENT AGREES AND ACKNOWLEDGES THAT HE
OR SHE WAIVES THE RIGHT TO LITIGATE IN COURT OR TO ARBITRATE ANY CLAIM OR DISPUTE ARISING
UNDER THIS CONTRACT AS A CLASS ACTION, EITHER AS A MEMBER OF A CLASS OR AS A
REPRESENTATIVE.   THE PROVISIONS OF THIS ARBITRATION AGREEMENT SHALL SURVIVE THE
TERMINATION OF THIS CONTRACT FOR ANY REASON WHATSOEVER.



The Client acknowledges that he or she has read this Agreement in its entirety and that he or she fully understands the terms
and conditions of this Agreement, and that he or she agrees to abide by its terms.




CLIENT: Signature: _________________________                       Date: ________________________________________

Client: Printed Name: ________________________

Client’s DOB: ______________________________                       Client’s SSN: _________________________________

Primary Mailing Address: _____________________                     Phone Numbers

__________________________________________                         Home:_______________________________________

__________________________________________                         Mobile:______________________________________




ATTORNEY Signature:

                         Junell & Associates, PLLC
                         3737 Buffalo Speedway, Suite 1850
                         Houston, Texas 77098
                         (713) 351-0350
                         www.junell-law.com
                         Email: bsa@junell-law.com




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MARC J. BERN & PAR1NERS
101 West Elm Street Suite
215
Conshohocken, PA 19428                                                    (800) LAW-5432


                                      CONTINGENT FEE AGREEMENT


I, the undersigned client, do hereby retain and employ MARC J. BERN & PARTNERS as my attorneys to represent
me in a claim for all damages relating to the sexual misconduct, abuse, assault and/or exploitation committed by the
Boy Scouts of America or any person, firm or corporation affiliated with the Boy Scouts of America.


I further authorize MARC J. BERN & PARTNERS to employ any other additional legal assistance that they deem
needed to fully represent my interests. Any fees for additional legal assistance will be determined by MARC J.
BERN & PARTNERS and paid by them from their fee as prescribed by this agreement. I agree and endorse
whatever agreement they make as being in my best interest.


It is agreed and understood that this employment is upon a contingent fee basis, and if no recovery is made, I will
not be indebted to MARC J. BERN & PARTNERS for any attorney's fees.


If there is a recovery of money damages, whether by way of settlement, verdict, or judgment, I agree that MARC J.
BERN & PARTNERS shall receive                        of said gross settlement, verdict or judgment as compensation for
their professional services, plus all actual costs incurred to process my successful claim. These costs will include,
but not limited to, investigative fees, filing costs, medical reports, discovery costs, photographic costs,
transportation costs, and other sin1ilar expenses related to this case.


I also agree and understand that their employment is contingent upon whether future developed facts clearly indicate
there is a cause of action against any defendant. In the event that such facts are not developed, I will be so advised
by MARC J. BERN & PARTNERS and their representation will then terminate with no further financial obligations
on my part.


I have read this agreement, and understand its contents, and acknowledge having received a copy of this agreement.



DATED THIS __               DAY OF_______________________________________, 2020




                                                                 SIGNATURE OF CLIENT



                                                                 PRINT NAME



                                                                  STREET




                                                                 CITY                     STATE         ZIP




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       ATTORNEY REPRESENTATION – CONTINGENCY AGREEMENT

       Thank you for selecting BERGER MONTAGUE PC, MOTLEY RICE, LLC, and
NYE, STIRLING, HALE & MILLER, LLP, who are collectively referred to in this
Attorney-Client Retainer Agreement (the “Agreement”) as the “Attorneys” to represent
you, Judson Martin (“Client”), in connection with the alleged claims to be asserted on
behalf of CLIENT against Boy Scouts of America and any related entities (collectively
“Defendants”), related to the abuse suffered while a member of Troop 740. Below, we have
prepared an agreement (“Agreement”) outlining the terms of our representation. As I
explained to you, our firms will undertake your representation on a contingent basis with
respect to both fees and expenses. You will not be responsible for any attorneys’ fees or
expenses that we incur in connection with this matter. We will advance the costs of suit
and will receive neither attorneys’ fees nor reimbursement of expenses if the litigation is
unsuccessful. If successful, we will receive our fees and expense reimbursement as
awarded by the Court or from any settlement funds, as set forth in more detail below.

       In representing you, we may choose to associate with additional law firms.
Associating firms as additional counsel of record can increase the legal resources available
to prosecute the claims and contest what we expect to be a vigorous defense. Because the
California Rules of Ethics require fee agreements be in writing and advise the Client of
any fee split between the attorneys, we will provide an updated agreement if we associate
additional law firms. If this letter accurately summarizes our agreement, please sign below
and return it to me. When fully executed, this agreement will supersede and become the
operative retention agreement for this case moving forward.

1.     CONDITIONS
       This Agreement will not take effect, and Attorney will have no obligation to provide
legal services, until: (a) Client returns a signed copy of this Agreement to Attorney; and
(b) Attorney acknowledges acceptance of representation by counter-signing this
Agreement and returning a fully executed copy to Client.
2.     SCOPE OF SERVICES AND ATTORNEY’S DUTIES
      Client hires Attorneys to provide legal services in connection with the claims of
childhood sexual abuse to be asserted on behalf of Client against Defendants.
      The Attorneys will analyze and investigate Client’s claims against Defendants.
Following analysis and investigation, the Attorneys will prepare and file a lawsuit and will
devote their fullest professional ability to this matter for a fee which will depend upon the
outcome of the litigation.
       Attorneys will provide those legal services reasonably required to represent Client.
Attorneys will take reasonable steps to keep Client informed of progress and to respond to
Client’s inquiries. Attorneys will represent Client through trial and post-trial motions. This
Agreement does not cover representation on appeal or in bankruptcy or collection


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proceedings after judgment or proceedings regarding renewal of a judgment. A separate
written agreement for these services or services in any other matter not described above
will be required.
       Attorneys are representing Client only in the matter described above.
3.     LITIGATION TACTICS
        Client understands that the Attorneys reserve the right to determine all litigation
tactics on behalf of Client, including bringing in additional law firms to work with the
Attorneys on the case. In the event that Client and the Attorneys should disagree with
respect to litigation tactics or should disagree over advice given to Client with respect to
settlement of the Client’s individual claims, the Attorneys shall have the right to withdraw
as counsel with respect to Client.
4.     CLIENT’S DUTIES
        Client agrees to be truthful with Attorney and not withhold information. Further
Client agrees to cooperate, to keep Attorney informed of any information or developments
which may come to Client’s attention, to abide by this Agreement, to pay Attorney’s bills
on time, and to keep Attorney advised of Client’s address, telephone number and
whereabouts. Client will assist Attorney by timely providing necessary information and
documents. Client agrees to appear at all legal proceedings when Attorney deems it
necessary, and generally to cooperate fully with Attorney in all matters related to the
preparation and presentation of Client’s claims. Client grants attorneys the right to sign,
as Client’s attorney in fact, any instrument, release or other document necessary to obtain
a settlement that Client has approved or any money being paid in satisfaction of a judgment.

5.     LEGAL FEES AND COSTS
        A.     The Attorneys will advance all costs of the action. In addition to our fees,
we are to be paid and reimbursed for various in-house (internal) services, and expenses
specifically related to your case. These include, but are not limited to, the following:
paralegal time, photocopy and other reproduction costs, facsimiles, secretarial overtime,
extraordinary administrative, technical or accounting support, computer legal research,
long distance telephone charges, messenger and other delivery fees, postage, mileage, the
cost of licensing and installation of special computer programming to manage your case
and similar costs and expenses. If there is a settlement or judgment in your favor from
which some or all of the internal costs and expenses we incur in your representation may
be paid, those internal costs and expenses will be billed to and be payable by you solely
out of your share (60%) of the recovery, at our respective costs and without mark-up for
administrative charges. If we do not obtain a recovery for you we will not charge you for
our costs. External expenses generally will be charged to you at the firm’s actual costs
without mark-up including, but are not limited to, the following costs: service of process
charges, filing fees, court and deposition reporters’ fees, jury fees, witness fees, notary fees,
depositions, transcripts, consultants, investigators, expert witnesses, professional mediator,
arbitrator and/or special master fees, travel, including parking, transportation, meals and
hotels. If we advance an external expense, we will ask you to make reimbursement
payment to the firm out of your share (60%) of the recovery received through settlement
or judgment.
      B.     Pursuant to California Rule of Professional Conduct 4-210(a)(3), Attorneys
will pursue the reimbursement of the aforementioned costs only from any monetary


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recovery in this matter. If there is no recovery or if the recovery is insufficient to satisfy
the advanced costs, Attorneys will not pursue the reimbursement of any unsatisfied portion
of the advanced costs from Client.
       C.     Client agrees to pay Attorneys a contingency fee of Forty Percent (40%) of
any recovery, whether such recovery is by way of settlement, judgment, or otherwise. If
there is no recovery, there will be no fee for legal services under this Agreement. For
purposes of computing the amount of recovery, all consideration obtained (or the
reasonable value thereof), including any interest or other amounts separately awarded, shall
be included.
        D.    If there is a recovery of attorneys’ fees, Attorneys agree to accept as fees
either the amount of the fee award or 40% of the overall award, whichever is greater.
        E.     Division of legal fees. Client agrees that Attorneys have associated to assist
in the representation of Client. Client’s legal fees under this agreement will not increase by
reason of this association. The breakdown of the fees between the associated attorneys shall
be as follows:
       NSHM shall recover 50% of all Fees recovered.
       Berger Montague shall recover 25% of all Fees recovered.
       Motley Rice shall recover 25% of all Fees recovered.
       In no event, will any disagreement regarding fees alter the amount of fees owed to
Attorneys by Client under this agreement. By signing this agreement, Client has read and
understands the above and confirms his consent to the terms of the association of counsel
and division of fees.
       F.     Client understands that the rates set forth above are not set by law, but are
negotiable between Attorney and Client.

6.     LIEN

        Attorneys have a lien on any and all claims that are the subject of Attorneys’
representation under this Agreement. Attorneys’ lien will be for any sums owing to
Attorneys for any unpaid costs, or attorney’s fees, at the conclusion of Attorneys’ services.
The lien will attach to any recovery Client may obtain, whether by arbitration award,
judgment, settlement or otherwise. The effect of such a lien is that Attorneys may be able
to compel payment of fees and costs from any such funds recovered on behalf of Client
even if Attorneys have been discharged before the end of the case. In the event Attorneys
withdraw from representing Client without cause, Attorneys will not be entitled to any lien
for fees. The lien will exist and attach to any recovery only for costs already advanced by
Attorney pursuant to Paragraph 5. Because a lien may affect Client’s property rights, Client
may seek the advice of an independent lawyer of Client’s own choice before agreeing to
such a lien. By initialing this paragraph, Client represents and agrees that Client has had a
reasonable opportunity to consult such an independent lawyer and – whether or not Client
has chosen to consult such an independent lawyer – Client agrees that Attorneys will have
a lien as specified above.


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               (Client initials here)                                (Attorney’s initials here)

7.     PROFESSIONAL LIABILITY INSURANCE DISCLOSURE

       Attorneys represent to Client that the Attorneys currently have in effect and will
maintain in effect during the term of this contract professional errors and omissions
insurance coverage.

8.     NO TAX ADVICE

       Attorneys have not been retained to provide Client with any tax advice concerning
any of the services described in paragraph 2. Any documents prepared by Attorneys may
have specific tax ramifications. To be sure Client understands and is certain of all the
potential tax consequences, Client should consult with tax advisors regarding these matters.

9.     DISCHARGE AND WITHDRAWAL

       Client may discharge Attorneys at any time. Attorneys may withdraw with Client’s
consent or for good cause or if permitted under the Rules of Professional Conduct of the
State Bar of California and/or applicable law. Among the circumstances under which
Attorneys may withdraw are: (a) with the consent of Client; and/or (b) Client’s conduct
renders it unreasonably difficult for the Attorneys to carry out the employment effectively.

         If we are discharged by you prior to final resolution of the Claims by a settlement
or judgment, or if we withdraw for justifiable cause, we are entitled to be compensated for
our time spent in the prosecution of your Claims at our usual hourly rates as well as
payment for all fees and costs outstanding. The hourly rate for all attorneys who work on
this file will be $675 for partners, and $500 for associates. This rate may change from time
to time. In the event Attorneys voluntarily withdraw from representing Client without
cause, Attorneys waive, and will not be entitled to be paid, any fees by Client.

10.    CONCLUSION OF SERVICES

       When Attorneys’ services conclude, whether by completing the services covered by
this Agreement, or by discharge or withdrawal, Client may have access to Client’s case file
at Attorneys’ office at any reasonable time. At the end of the engagement, Client may
request the return of Client’s case file. If Client has not requested the return of Client’s file,
and to the extent Attorneys have not otherwise delivered it or disposed of it consistent with
Client’s directions, Attorneys will retain the case file for a period of 5 years, after which
Attorneys are authorized by this agreement to have the case file destroyed. If Client would
like Attorneys to maintain Client’s case file for more than 5 years after the conclusion of
Attorneys’ services for Client on a given matter, a separate written agreement must be



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made between Attorneys and Client, which may provide for Client to bear the cost of
maintaining the file. In the event Client requests that Attorneys transfer possession of
Client’s case file to Client or a third party, Attorneys are authorized to retain copies of the
case file at Attorneys’ expense. The case file includes Client’s papers and property as
defined in Rule 3-700(D)(1) of the California Rules of Professional Conduct.

11.    DISCLAIMER OF GUARANTEE

       Client understands and hereby acknowledges that any recovery is contingent on
establishing the legal liability of other parties and that no particular result or amount of
compensation can or is guaranteed, implied or promised. Client further understands that
the collectability of any award or judgment is contingent on the existence of funds and
assets or insurance sufficient to satisfy such award or judgment.

12.    ARBITRATION

       A. ARBITRATION OF ALL DISPUTES INCLUDING CLAIMS OF
          MALPRACTICE

        Any dispute between Attorneys and Client arising under this Agreement or in
connection with Attorneys’ services hereunder, including without limitation any claim for
breach of contract, professional negligence, misrepresentation, fraud, breach of fiduciary
duty and disputes regarding attorney fees and/or costs charged under this Agreement
(except as provided in Paragraph A below) shall be resolved by binding arbitration in
accordance with the rules of California Code of Procedure section 1280, et seq. The
arbitrator shall be empowered to order the losing party in the arbitration to reimburse the
prevailing party for all expenses incurred in connection with the arbitration, including but
not limited to the arbitrator’s fees and reasonable attorneys’ fees and costs.

       With respect to any arbitration, Attorneys have explained to Client that:

                   the parties are waiving their right to a jury trial and to seek
                    remedies available in court proceedings;

                   pre-arbitration discovery is generally more limited and different
                    from court proceedings;

                   the arbitrator's award is required to include factual findings or
                    legal reasoning; and

                   any party's right to appeal or seek modification of the award is
                    strictly limited and the award is final and binding on the parties,



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                     unless it is determined the award is not in accordance with Code
                     of Civil Procedure section 1280, et seq.

       Client and Attorneys confirm that they have read and understand the paragraphs set
forth above, and voluntarily agree to binding arbitration. Client may consult with an
independent lawyer of Client’s choice to review these arbitration provisions, and this entire
agreement, prior to signing this Agreement.

       B. MANDATORY FEE ARBITRATION

        Notwithstanding paragraph A, the parties acknowledged that in any dispute over
attorney’s fees, costs or both subject to the jurisdiction of the State of California over
Attorneys’ fees, charges, costs or expenses, Client has the right to elect arbitration pursuant
to procedures set forth in California Business and Professions Code Sections 6200-6206
(the Mandatory Fee Arbitration Act). If after receiving Notice of Client’s Right to Fee
Arbitration, Client does not elect to proceed under the Mandatory Fee Arbitration Act
procedures by failing to file a request for fee arbitration within 30 days, any dispute over
fees, charges, costs or expenses, will be resolved by binding arbitration as provided in the
previous paragraph A. Arbitration pursuant to the Mandatory Fee Arbitration Act is non-
binding unless the parties agree in writing, after the dispute has arisen, to be bound by the
arbitration award. The Mandatory Fee Arbitration Act procedures permit a court trail after
non-binding arbitration, or subsequent binding contractual arbitration if the parties have
agreed to binding arbitration, if either party rejected the award within 30 days after the
award is mailed to the parties.

13.    MEDIATION

        Attorneys and Client agree to try and settle all disputes between them informally or
through private mediation before initiating any arbitration, litigation or other dispute
resolution procedure. Any party to this Agreement may initiate mediation through service
of a written demand on the opposing party by U.S. mail. The mediation session will occur
at a time and location mutually agreed upon by the parties, though no later than two months
after the date of service of the initial notice, unless otherwise agreed by the parties and the
mediator. Each party shall bear its own fees and costs for the mediation.

14.    COPY RECEIVED BY CLIENT

       Client acknowledges receipt of a copy of this Agreement concurrently with Client’s
execution of the Agreement.




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15.    ENTIRE AGREEMENT

      This Agreement contains the entire agreement of the parties. No other agreement,
statement, or promise made on or before the effective date of this Agreement will be
binding on the parties.

16.   SEVERABILITY IN EVENT OF PARTIAL INVALIDITY

      If any provision of this Agreement is held in whole or in part to be unenforceable
for any reason, the remainder of that provision and of the entire Agreement will be
severable and remain in effect.

17.   MODIFICATION BY SUBSEQUENT AGREEMENT

       This Agreement may be modified by subsequent agreement of the parties only by
an instrument in writing signed by both of them.

18.   CALIFORNIA LAW

      California law shall govern the interpretation of this agreement.

19.   SOCIAL MEDIA/FACEBOOK/TWITTER/EMAIL/ DOCUMENT
      PROTECTION ETC.

       We have informed you that during the pendency of this case, we recommend you
limit your posts to or shut down any social media accounts. You should not post any photo
of yourself anywhere during the pendency of the case. We have also informed you that you
must not delete or destroy any documents you have in your possession or delete any email,
documents or any postings you have on any social media account.

20.   EFFECTIVE DATE

        This Agreement will govern all legal services performed by Attorneys on behalf of
Client commencing with the date Attorneys first performed services. The date at the
beginning of this Agreement is for reference only. Even if this Agreement does not take
effect, Client will be obligated to pay Attorneys the reasonable value of any services
Attorney may have performed for Client.




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THE PARTIES HAVE READ AND UNDERSTOOD THE FOREGOING TERMS
AND AGREE TO THEM AS OF THE DATE ATTORNEY FIRST PROVIDED
SERVICES. IF MORE THAN ONE CLIENT SIGNS BELOW, EACH AGREES
TO BE LIABLE, JOINTLY AND SEVERALLY, FOR ALL OBLIGATIONS
UNDER THIS AGREEMENT.

        If this letter Agreement meets with your approval, please sign the enclosed copy of
this letter and return your signature page to us via email or mail.

       If at any time you have questions concerning our representation, billings, costs or
expenses, or any other matters, please do not hesitate to call me to discuss these matters. It
is of paramount concern to us that you, as our Client, be satisfied with our services. We
look forward to working with you on this matter.

AGREED TO AND ACCEPTED


Date: _______________                             By:
                                                        Judson Martin

                                                  Address:



                                                  Telephone:

                                                  Email:




[Attorney signature blocks on following page.]




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______________________________           Date: ______________
Shanon J. Carson
Berger Montague PC
1818 Market Street, Suite 3600
Philadelphia, PA 19103
Telephone: (215) 875-4656
Email: scarson@bm.net



______________________________           Date: ______________
Daniel Lapinski
Motley Rice, LLC
210 Lake Dr. East, Suite 101
Cherry Hill, NJ 08002
Telephone: (856) 667-0500
Email: dlapinski@motleyrice.com



______________________________           Date: ______________
Timothy C. Hale
Nye, Stirling, Hale & Miller, LLP
33 West Mission Street, Suite 201
Santa Barbara, CA 93101
Telephone: (805) 963-2345
Email: timothy@nshmlaw.com




                                                    CASJ Verified Statement Exhibit A Page 79
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and
      THIS CONTRACT IS SUBJECT TO ARBITRATION UNDER THE FEDERAL
    ARBITRATION ACT AND THE NEW YORK GENERAL ARBITRATION STATUTE


                       BSSA RETAINER AGREEMENT
TO:     NS PR LAW SERVICES LLC
        d/b/a NAPOLI SHKOLNIK PLLC

       I,                                      , the undersigned (client) retains NS PR LAW SERVICES
LLC d/b/a NAPOLI SHKOLNIK PLLC, (law firm) as my attorneys to prosecute a claim for negligence
against any and all parties individuals and/or corporations that are found to be liable under the law for
damages suffered by me arising from sexual abuse during my time with the Boy Scouts of America. I
specifically agree as follows:


1.       INVESTIGATION: The law firm undertakes to represent the client, “subject to investigation”
and will not commence suit and/or initiate a claim until after the law firm has had an opportunity to obtain
and review the relevant records, including but not limited to medical/hospital records.


2.     FEE PERCENTAGE: Although I have been advised of the right to retain the law firm under an
agreement whereby the firm would be compensated on the basis of the reasonable value of services
rendered or on an hourly rate, I and the law firm agree that the law firm shall be paid a legal fee of
                                    of the sum recovered, whether by suit, settlement or otherwise.
Under such agreement the client shall not be obligated to pay the law firm a legal fee if there is no
recovery.

I have been given the following options with respect to how such percentage shall be computed, and have
made the selection of how the percentage shall be computed as reflected by the initialing of the line
below:

_____________(initials) Option Number One: The Client remains Liable for Repayment of All
Disbursements, Costs and Expenses, Regardless of the Outcome of this Matter. The percentage of the
recovery due the law firm as a legal fee shall be computed on the net sum recovered after deducting from
the amount recovered expenses and disbursements for expert medical testimony and investigative or other
services properly chargeable to the enforcement of the claim or prosecution of the action.

_____________ (initials) Option Number Two: The law firm Agrees to Pay and Remain Liable for All
Reasonable (at the law firm’s discretion) Disbursements, Costs and Expenses, Regardless of the Outcome
of this Matter. The percentage of the recovery due the law firm as a legal fee shall be computed on the
gross sum recovered before deducting costs, expenses and disbursements. The law firm agrees to pay all
reasonable disbursements, costs and expenses of the action and the client will not remain
responsible for any costs, expenses or disbursements in the event the claim or action is dismissed or
otherwise rejected by any court of competent jurisdiction.

The following reflects the financial consequences of each of the above two Options, using as an
example a case in which there is a recovery of $100,000 -and this number is used only as an example
that is easy to understand - and the expenses, costs and disbursements in the case are $10,000:

Option Number One Example (The Client Remains Liable for Repayment of All Disbursements Costs and
Expenses, Regardless of the Outcome of This Matter):

        Total recovery                            $100,000.00
        Less expenses and disbursements          - $10,000.00
        Less            remaining $90,000.00     -
        Client Recovery:
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Option Number Two Example (The Law Firm Agrees to Pay and Remain Liable for All Reasonable
Disbursements Costs and Expenses, Regardless of the Outcome of This Matter):

        Total recovery:                            $100,000.00
        Less        of $100,000.00
        Less expenses and disbursements:         - $10,000.00
        Client Recovery



The Client understands and agrees that, if the Client has selected Option Number One, the law firm
reserves the right, in its sole discretion, to elect to make payment in the first instance of some or all costs,
expenses and disbursements, so as not to hinder the enforcement of the claim or prosecution of the action.
If the law firm has advanced these payments, the Client understands that he or she remains fully
responsible to reimburse the law firm for such costs, expenses and disbursements. If the law firm elects
not to make payment under Option Number One, of some or all costs, expenses and disbursements, the
Client will advance and prepay to the law firm all such costs, expenses and disbursements as they are
incurred or anticipated for the enforcement of the claim and the prosecution of the action. The law firm
may, in its discretion, require the Client to deposit with the law firm a specified amount of money, as the
law firm deems appropriate, in order for such costs, expenses and disbursements to be paid. Should the
Client not comply with his or her financial obligations under Option Number One, the Client understands
and agrees that such failure to comply shall constitute good cause for the law firm to withdraw in
accordance with this agreement and the applicable rules of professional conduct.

3.          EXPENSES AND DISBURSEMENTS: Examples of costs, expenses and disbursements: for
expert medical and other testimony and investigative or other services properly chargeable to the
enforcement of the claim or prosecution of the action include, but are not limited to, charges for: retaining
investigators; storage fees relating to the preservation of evidence; document management charges.
(document management charges are the fees charged by the law firm for processing documents during
litigation, such as medical records, documents produced by defendant(s) and/or other parties, etc.
Processing of the documents may include but is not limited to the following: (1) scanning; (2) conversion
of native files to PDF documents; (3) OCR (optical code recognition); and/or (4) indexing). fees obtaining
medical records; retaining expert witnesses and consultants, including locating and preparing expert
witnesses and consultants, obtaining reports and testimony, and related transportation, parking, mileage,
meals and hotel costs; court filing fees; service of process fees; subpoena fees; costs associated with
taking depositions, including stenographer’s fees; videographer’s fees and video teleconferencing costs; ,
long distance telephone charges, court reporter fees; notary fees; mediator, arbitrator and/or special
master fees; specialized medical and legal research fees; computerized research fees; expenses for focus
groups and jury consultants; interest incurred pursuant to paragraph eleven hereof, photography;
preparation of exhibits; photocopying and other reproduction costs; and expenses of non-expert witnesses;
postage and delivery fees; travel costs, including parking, mileage, transportation, meals and hotel costs;
long distance telephone and fax charges; and all other necessary and incidental expenses and
disbursements incurred on the Client’s behalf. This list is not exclusive.

In the event that the law firm has been retained by others having the same claim or a similar case,
disbursements regarding the liability and/or damages of the defendants shall be shared proportionately by
all such plaintiffs. It is contemplated that this may be accomplished by participating with other firms
nationally in a pooling of research and information for which a case by case membership fee will be
necessary. As such, this will be deemed Disbursements, which shall also be deducted from the recovery.

In computing the fee, the costs as taxed, including interest upon a judgment, shall be deemed part
of the amount recovered. For the following or similar items there shall be no deduction in computing
such percentages: Liens, assignments or claims in favor of hospitals, for medical care and treatment by/of
doctors and nurses, or of self-insurers or insurance carriers.

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The Client understands and agrees that, without regard to whether the Client has selected Option
Number One or Option Number Two, under no circumstances will the law firm be responsible for the
payment of any judgment that may be entered against the Client arising out of either the incident or the
prosecution of the action, including any bill of costs.

4.           STRUCTURED SETTLEMENTS: Should this matter be concluded on the basis of a
“structured settlement”(that is with payment to be made over a period of time), The law firm’s entire fee
plus all disbursements , costs and expenses shall be deducted from the initial cash payment.

5.             MEDICAL BILLS: All medical bills incurred which are not paid by client’s medical
insurance and are due and owing shall be chargeable to the client’s portion of the settlement. There may
be additional deductions representing outstanding medical bills, liens to doctors for unpaid medical
services rendered, or medical services not covered by medical insurance. The recovery of these medical
services are included in the gross settlement and shall be paid from the net settlement. Unpaid medical
providers often will wait for payment until the conclusion of the case, however, in consideration for such
abeyance, they will request a lien upon the settlement proceeds. The client expressly authorizes the firm
to sign such lien forms, which may be requested by physicians, and to directly pay outstanding medical
bills for treatment to such physicians or other health care providers at the conclusion of the case. This
authorization shall include medical and hospital expenses, and subrogation claims. The client understands
that medical providers do not provide medical services contingent upon the outcome of a case, and that in
the event that there is no recovery, or an insufficient recovery, the client will remain responsible for the
payment of such medical bills.

Medicare, Medicaid, and Private Insurance Carriers are entitled to reimbursement of their
payments made on the behalf of the client all such payments are the responsibility of the client and
not the law firm.


6.        WITHDRAWAL: The law firm expressly reserves the right to withdraw its representation at
any time upon reasonable notification to the client. Notwithstanding anything to the contrary contained
herein:

                a.       In the event that the client advises the law firm to discontinue the handling of this
                claim, or if the client fails to cooperate with the law firm in the handling of this claim,
                client agrees reimburse the law firm or all costs, expenses and disbursements incurred by
                the law firm in the prosecution of the claim and to compensate the law firm a reasonable
                amount for its services and for the time spent on this claim on an hourly basis or under
                such other arrangement that may be agreed upon by the parties.

                b.       In the event that the client desires to transfer the file from the law firm, or
                otherwise terminate the representation of the client by the law firm, the client shall be
                responsible to compensate the law firm for the reasonable value of their services and
                reimburse the law firm for all costs, expenses and disbursements. Such transfer shall not
                include documents or attorney work product regarding the general liability of the
                defendants.



7.         APPEALS: The above contingency fee does not contemplate any appeal. The law firm is
under no duty to perfect or prosecute such appeal until a satisfactory fee arrangement is made in writing
regarding costs and counsel fees.



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8.       PROBATE, TRUST AND ESTATES: It is further understood and agreed by the Client that this
retainer agreement does not include, nor will the law firm represent the Client in, trust and estate work
and/or Surrogate Court work. For example, matters which are not included in this retainer agreement, and
for which the Client would have to retain separate counsel, would include: a) any work that would have to
be performed if the appointment of an Executor/Administrator or Guardian is required and/or if trust or
guardianship proceedings must be initiated and/or Surrogate Court proceedings are required, in order to
proceed with the underlying claim and/or lawsuit; and b) any work that would have to be performed in
connection with proceedings which might need to be initiated in any court to withdraw funds deposited
pursuant to an Infant Compromise Order or similar order or court directive. If such work is required, the
Client understands and agrees that the Client would have to retain separate counsel to perform such work.

 9.      NO FAULT, DISIBILITY AND OTHER MATTERS It is further understood and agreed by
the Client that this retainer agreement neither includes nor will the law firm represent the Client for: no
fault, Federal and/or State disability benefits, arbitration/litigation of no fault benefits, Worker’s
Compensation benefits, litigation involving liens or rights of subrogation, appeals of any kind,
supplemental proceeding to collect on or enforce any judgment or award or to assist in settlement advance
funding arrangements of any kind, unless a separate agreement in writing is entered into between the
Client and the law firm. All liens of any kind shall be payable solely out of the Client’s share of the
recovery and there shall be no deduction for said items in computing the legal fee due the law firm.

 10.        STATUTE OF LIMITATIONS: I understand that the Statute of Limitations period for my
case must be investigated and that this Retainer Agreement is made subject to that investigation as well as
an investigation of my entire case pursuant to paragraph 1. I understand that the law firm has accepted
this case conditionally depending upon independent confirmation of all facts relative to liability and the
injuries claimed to have been sustained by the client.

11.           FINANCING OF CASE: If the law firm borrows money from any lending institution to
finance the cost of the client’s case, the amounts advanced by this firm to pay the cost of prosecuting or
defending a claim or action or otherwise protecting or promoting the client’s interest will bear interest at
the highest lawful rate allowed by applicable law. In no event will the interest be greater than the amount
paid by the firm to the lending institution.

12.           RESULTS NOT GUARANTEED: No attorney, nor any employee of this law firm can
accurately predict the outcome of any legal matter; accordingly, no representations are made, either
expressly or impliedly, as to the final outcome of this matter.          I further understand that I must
immediately report any changes in my residence, telephone number or health to the law firm.          I
understand that this Retainer Agreement is a binding legal contract. I expressly agree that I will
fully and freely cooperate with my attorneys in all aspects required for the prosecution of this legal
matter and that I will take no actions that frustrate or impair the success of this action.
________(initials)

13.          APPROVAL NECESSARY FOR SETTLEMENT: The law firm and it’s Attorneys are
hereby granted a power of attorney so that they may have full authority to prepare, sign and file all legal
instruments, pleadings, drafts, authorizations, and papers as shall be reasonably necessary to conclude this
representation, including settlement and/or reducing to possession any and all monies or other things of
value due to the Client under the claim as fully as the Client could do so in person. The law firm and its
Attorneys are also authorized and empowered to act as Client’s negotiator in any and all negotiations
concerning the subject of this Agreement.



14.      ASSOCIATION OF OTHER ATTORNEYS: The law firm or its Attorneys may, at their own
expense, use or associate other attorneys in the representation of the aforesaid claims of the Client. Client
understands that the law firm is a limited liability partnership under the laws of New York with a number
of attorneys. Various firm attorneys may work on Client’s case.

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15.            ASSOCIATE COUNSEL: The law firm or its Attorneys may participate in the division of
fees in this case and assume joint responsibility for the representation of the client either in the event that
the law firm or its Attorneys retains associate counsel or that the client later chooses new counsel,
provided that the total fee to the client does not increase as a result of the division of fees and that the
attorneys involved have agreed to the division of fees and assumption of joint responsibility.

16.    NEW YORK LAW TO APPLY: This Agreement shall be considered construed under and in
accordance with the laws of the State of New York and the rights, duties and obligations of Client and of
the law firm regarding the law firm’s representation of Client and regarding anything covered by this
Agreement shall be governed by the laws of the State of New York.

 17. CONSENT TO ARBITRATION AND WAIVER OF CLASS ACTION : Any and all disputes,
controversies, claims or demands arising out of or relating to (1) this Agreement or (2) any provision
hereof or (3) the providing of services by the law firm or any of its attorneys to Client or (4) the
relationship between the law firm and Client, whether in contract, tort or otherwise, at law or in equity,
for damages or any other relief, shall be resolved by binding arbitration pursuant to the Federal
Arbitration Act in accordance with the Commercial Arbitration Rules then in effect with the American
Arbitration Association. Client shall not file a class action against the law firm or any of its attorneys or
seek to assert any claims or demands against the law firm or any of its attorneys by or through a class
action, either as the named plaintiff or as a member of the class, but rather shall submit his/her claims or
demands to binding arbitration pursuant to the provisions of this Paragraph (17). Any such arbitration
proceeding shall be conducted in Nassau County, New York before a single arbitrator appointed by
American Arbitration Association pursuant to the Rules for Commercial Arbitration, except the Arbitrator
shall be selected from the list of personal injury arbitrators. This arbitration provision shall be
enforceable in either federal or state court in Nassau County, New York pursuant to the substantive
federal laws established by the Federal Arbitration Act. Any party to any award rendered in such
arbitration proceeding may seek a judgment upon the award and that judgment may be entered by any
Supreme Court in Nassau County, New York having jurisdiction.

18.        PARTIES BOUND: This Agreement shall be binding upon and inure to the benefit of the
parties, hereto, and their respective heirs, executors, administrators, legal representative, successors,
guardians and assigns.

19.        LEGAL CONSTRUCTION: In case any one or more of the provisions contained in this
Agreement shall for any reason be held invalid, illegal or unenforceable in any respect, such invalidity,
illegality, or unenforceability shall not affect any other provisions thereof and this Agreement shall be
construed as if such invalid, illegal, or unenforceable provision had never been contained herein. This
agreement may be signed in counterparts.

20.            PRIOR AGREEMENTS SUPERSEDED: This Agreement constitutes the sole and only
Agreement between the client and the law firm and supersedes any prior understandings or written or oral
agreement between the parties respecting the within subject matter. It is further agreed that any oral
changes or modifications of the above contract are null and void unless subscribed to in writing and
executed by the law firm.

I certify and acknowledge that I have received a copy of this Retainer Agreement, have had the
opportunity to read this Retainer Agreement and have had answered any questions pertaining thereto. I
further state that I have voluntarily entered into this Agreement fully aware of its terms and conditions. I
understand and agree to be bound by the terms and conditions contained herein




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                THIS CONTRACT IS SUBJECT TO ARBITRATION
                 UNDER THE FEDERAL ARBITRATION ACT AND
               THE NEW YORK GENERAL ARBITRATION STATUTE
                                         NS PR LAW SERVICES LLC
                                         d/b/a NAPOLI SHKOLNIK, PLLC
Print Client’s Name: ____________________________
                                                    By:_____________________________



Client’s Signature:______________________________   ________________________________
                                                    Printed Name of Attorney

Address:______________________________________

       ______________________________________

       ______________________________________

Phone: _(______)______________________________




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 POWER OF ATTORNEY AND EMPLOYMENT AGREEMENT: BOY SCOUTS
               OF AMERICA ABUSE LITIGATION

       This Agreement between _____________________________ (the “Client”),
_____________________, Reich & Binstock, LLP (“RB”), and Shapiro Legal Group,
PLLC (“Shapiro”) (collectively, the “Attorneys"), is for the legal representation in
prosecuting Client’s cause(s) of action for damages and personal injuries against the Boy
Scouts of America.

        Client hereby retains and employs Attorneys to represent Client only in connection
with the February 18, 2020 bankruptcy filing or related global resolution of sex abuse
claims against the Boy Scouts of America. Client understands that this contract for legal
services is for representation for client’s claims against the Boy Scouts of America only.
It does not extend to any probate, tax advice, criminal defense, divorce or other kind of
legal service or proceeding.

       Client requests a contingency fee contract rather than an hourly fee and grants
Attorneys a lien to assure payment of percentage fee and costs from any recovery. Client
conveys to the Attorneys the present undivided interest in the above claim the amount of
                     of the gross amount of the total sum collected. If the Attorneys are
not successful, the client will not owe any attorney fees or case expenses to the
Attorneys.

        Attorneys will advance all of the court costs and other expenses, including common
costs that are reasonably necessary for the investigation, preparation, and/or settlement of
this matter. All such costs and expenses, including common costs, advanced or incurred by
the Attorneys shall be deducted from any settlement out of the Client’s portion of recovery.
The Attorneys’ contingent fee shall be computed on the total recovery without deduction
for court costs, expenses, common costs, or disbursements.

       The terms “costs and other expenses” include, without limitation: filing fees, court
costs, expert witness fees for evaluation, expert reports, postage, long distance telephone
calls, fax transmissions or receptions, messengers, court reporter fees, record service fees,
photocopying, service of citations, medical records, subpoenas, and all other reasonable
and necessary costs and expenses which the Attorneys in their professional judgment,
determine to be reasonably needed to the prosecution and/or settlement of the Claims of
the Client.

       The Client expressly understands that, in the event that no recovery is
obtained on the Client’s claim, the Attorneys will make no charges for his or her time,
services, fees, costs, or other expense which may have been advanced.

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       No settlement shall be made without Client’s approval and permission. Client
grants Attorneys the power of attorney to execute all documents connected with the claim
for the prosecution of which the attorney is retained, including pleadings, contracts, checks
or drafts, settlement agreements, compromises, releases, verifications, dismissals, and
orders, as well as all other documents which the Client could properly execute.

       The Client acknowledges and agrees that each of the Attorneys will assume joint
responsibility for the representation and prosecution of the Client’s claim(s).               It is
understood and expressly agreed to by the Client that, at the conclusion of the case, if a
recovery is made on the Client’s behalf, Attorneys’ fee will be shared by each of the
Attorneys as follows: RB will receive        and Shapiro will receive

       The Client shall keep the Attorneys advised of his/her current address and telephone
numbers at all times, shall appear on reasonable notice at any and all depositions and court
appearances, and shall comply with all reasonable requests from the Attorneys in
connection with the preparation of the Client’s claim and causes of action.

        Repayment to third parties that paid the Client’s medical expenses may be required
by contract or statute. Such payment obligations shall be the Client’s responsibility and
shall be paid out of the Client’s settlement proceeds. By the Client’s signatures on this
employment contract, Client grants the Firm(s) a lien and security interest in Client’s case
or claim to secure payment of all sums due under this contract for legal services rendered
and cost advanced, if any.

        The Attorneys may, at their option, withdraw from the case and cease to represent
the Client for any reason. If the Attorneys exercise this right, they shall notify the Client
in writing and forward said notice to the Client’s last known address. In the event the
Attorneys exercise their right to close the case, the Client will not owe the Attorneys any
attorney fees or expenses.

      Arbitration proceedings are private, while trials are public; arbitration has unique
methods of choosing the persons who will serve as the arbitrators; and arbitration may be
more expensive than judicial proceedings in that the parties must pay higher costs.

        Client agrees that any dispute whatsoever out of this agreement, including disputes
regarding fees or the proper and reasonable rendition of legal services, will be resolved
by arbitration, to take place in Harris County, and governed by Texas law. Such arbitration
will take place before three arbitrators. Client will choose one, Attorneys will choose
one, and the arbitrators chosen by Client and Attorneys will mutually choose the third
arbitrator. Any court action to compel arbitration or enforce any arbitration award relating
to this agreement must be initiated in Harris County, Client agrees that the arbitrator will
apply Texas law to any dispute relating to this agreement. Client specifically has read,
understands, and agrees to the terms laid out in this Paragraph.


        A statute of limitations is a deadline that is established by law or contract that
determines the deadline by which a person with a legal claim must file a lawsuit to preserve
their claim. Attorneys cannot determine Client’s statute of limitations deadline and the
proper parties against whom Client’s potential claims could be made without investigating
Client’s claims and statute of limitations. Therefore, Client agrees Attorneys’ scope of
representation is limited to the extent that Attorneys’ obligation to file a lawsuit on behalf
of the Client shall arise only after Attorneys have had a reasonable opportunity to
investigate Client’s claims and statute of limitations.         If, after completing their
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investigation, Attorneys determine Client’s statute of limitations has not passed, Attorneys
shall file a lawsuit for Client’s claims within a reasonable time after such determination is
made. Client understands the Courts may disagree with Attorney’s determination of
Client’s statute of limitations deadline. If, after completing their investigation, Attorney’s
determine Client’s statute of limitations has passed, then Attorney’s may withdraw from
representing Client and Client shall not be obligated to pay any fees or expenses or costs
to the Attorneys. Client understands that the statute of limitations to file Client’s lawsuit
may have already passed prior to hiring Attorneys or could pass soon after Client hires
Attorneys, or while Attorneys’ investigation is ongoing. Client understands another law
firm might be willing to represent Client without the limitations on Attorneys’
representation contained in this section.

        This agreement represents the final and mutual understanding of the parties. It
 replaces and supersedes any prior agreements or understandings, whether written or
 oral. This agreement may not be modified, amended, or replaced except by another
 signed written agreement.

       The Client acknowledges that he or she has read this Agreement in its entirety,
which is three (3) letter size pages in length, that he or she fully understands the terms and
conditions of same, and that he or she agrees to abide by its terms.




EXECUTED on the _____ day of ________________________, 20 __.



Client Signature: _______________________________________

Client Printed Name: ___________________________________

Client Telephone Number: _______________________________

Client Address: ________________________________________



REICH & BINSTOCK, LLP: _____________________________




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                                RETAINER AGREEMENT

TO:    Slater Slater Schulman LLP
       445 Broad Hollow Road, Suite 419
       Melville, NY 11747


         The Client, ______________, residing at_____________________________________,
engages Slater Slater Schulman LLP (the “Firm”) to prosecute, negotiate, and/or adjust claim
for damages relating to the sexual misconduct, abuse, assault, and/or exploitation committed by
Boy Scouts of America persons or entities, employees, affiliates, partners or other related parties.
Specifically, the Firms agree to prosecute, negotiate and/or adjust claims pertaining to sexual
misconduct, abuse, assault, and/or exploitation claims under Federal or State law. Specifically, the
Firm agrees to prosecute, negotiate and/or adjust claims pertaining to: sexual misconduct, abuse,
assault, and/or exploitation claims under Federal or State law. Should other claims arise through
the course of representation, the Firm may, or may not, agree to represent the Client for those
claims. If the Firm agrees to negotiate, adjust and/or prosecute other claims, such agreement shall
first be memorialized in a separate written agreement.

        The Client hereby gives said attorneys the exclusive right to take all legal steps to enforce
said claims and to reject the same after reviewing and investigating the merits if a determination
is made in the attorneys’ sole and professional judgment that an action is not maintainable. The
Client hereby further agrees not to settle this action in any manner without the attorneys’ written
consent. In consideration of the services rendered and to be rendered by said attorneys, the Client
hereby agrees to pay said attorneys out of any verdict or settlement, and that said attorneys are
authorized to endorse for the Client any checks that may be paid by reason of the above claim or
action, and to retain the fees out of any moneys received by reason of the above claim or action:

       Either: (a)                                              of the total sum recovered,
whether recovered by verdict, settlement or otherwise, (Contingency Fee); or (b) any Court
award or settlement amount in which attorneys’ fees are enumerated and recovered, and
which is greater than the contingency fee (Fee Award).

       Such percentage shall be computed by one of the following two methods to be selected by
       Client:
       Select one by placing initials:

       [ ]     [Option 1]:     Firm pays costs and expenses of the action. Firm risks not being
                               reimbursed if there is no recovery. Attorneys’ fees shall be
                               computed on the gross sum recovered before deducting expenses
                               and disbursements; or

       [ ]     [Option 2]:     Client pays costs and expenses of the action as they are billed.
                               Client risks not being reimbursed if there is no recovery. Upon
                               recovery, client is reimbursed first and attorneys’ fees shall be




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                                computed on the net sum recovered after deducting from the
                                amount recovered expenses and disbursements, including expert
                                fees and investigative or other services properly chargeable to the
                                enforcement of the claim or prosecution of the action.

       Financial Consequences of selecting Option 1 or Option 2 are demonstrated on Page 3.

       Such Contingency Fee percentage shall be computed on the gross sum recovered. In
computing the attorneys’ fee, the costs as taxed, including interest upon a judgment, shall be
deemed part of the amount recovered. Expenses and disbursements may be advanced by the
attorneys but are the client’s responsibility and payable at the conclusion of the case, and may
include, but are not limited to, court filing fees, process server charges, charges for records, court
reporter charges, expert witness fees (if applicable), investigative and other services properly
chargeable to the enforcement of the claim(s) or prosecution of the action.

       In the event there is no recovery, there shall be no attorneys’ fees payable.

        Nothing contained in this Retainer shall be applicable to the fixing of attorneys’ fees for
services rendered in connection with appeals. Client acknowledges that this Retainer does not
include appeals and that our law firm reserves the right to negotiate new terms for the payment of
costs, disbursements and attorneys’ fees in connection with prosecuting or defending any appeal
which may arise during the enforcement of the claim or prosecution of the action.
        I understand that the Firm may borrow funds to pay for disbursements paid on my behalf
and waive any requirement that the Firm advise me in advance of the fact or the specifics of any
such borrowing. If the Firm borrow money from any lending institution to finance the cost of my
case, the amount advanced by the firm to pay the costs of prosecuting or defending a claim or
action or otherwise protecting or promoting the my interest will bear interest at the rate charged
by lender, which interest rate shall not be higher than the highest lawful rate allowed by law. Any
such interest amounts will be a disbursement in this matter, for which the Client agrees to
reimburse the firm under this Agreement.

        I understand that the statute of limitations period for my case must be investigated and that
this agreement is made subject to that investigation as well as investigation of my entire case.

       I understand that no attorney can accurately predict the outcome of any legal matter,
accordingly, no representations are made, either expressly or impliedly, as to the final outcome of
this matter. I further understand that I must immediately report any changes in my residence,
telephone number, email address, and contact information to the law firm.

        I understand that attorneys may, at their own expense, use or associate other attorneys in
the representation of the aforesaid claims of the Client. Attorney may participate in the division of
fees in this case and assume joint responsibility for the representation of the client either in the
event the Attorney retains associate counsel or that the client later chooses new counsel, provided
that the total fee to the client does not increase as a result of the division of fees and that the
attorneys involved have agreed to the division of fees and assumption of joint responsibility.




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       In the event the Client fails to comply with any of the terms of this Retainer, the attorneys
reserve the right to withdraw and preserve their rights to seek fees and recovery of expenses. A
facsimile or electronic copy shall be deemed an original.



Client Signature: _____________________              Dated: _______________________



Phone number: ______________________



Email address: _______________________



Attorney Name:         _______________________



Attorney Signature:    _______________________




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                    Financial consequences of selecting Option 1 or Option 2:


                                Gross        Expenses         Attorney’s Fees        Client’s
                                settlement                                           Recovery
 Option 1:                      $10,000.00   $750.00 paid
                                             by Lawyer
 Lawyer pays cost and                                         Calculated as
 expenses of the action.                                      follows: $10,000
                                                              gross sum
 Lawyer risk not being
 reimbursed if there is no
 recovery.                                                    plus return of
                                                              expenses paid by
 Attorneys’ fees shall be                                     Lawyer
 computed on the gross sum
 recovered before deducting
 expenses and disbarments.
 Option 2:                      $10,000.00   $750.00 paid                                       plus
                                             by the Client.                          return of expenses
 Client pays cost and                                         Calculated as          paid by Client.
 expenses of the action as                                    follows: $10,000 -
 they are billed.                                             $750.00+ net sum
                                                              of 9,250      =
 Client risk not being
 reimbursed if there is no
 recovery.

 Upon recovery, client is
 reimbursed first and
 attorneys’ fees shall be
 computed on the net sum
 recovered after deducting
 from the amount recovered
 expenses and disbursements,
 including expert fees and
 investigative or other
 services properly chargeable
 to the enforcement of the
 claim or prosecution of the
 action



Client Initials: __________________________________________

Client Initials: __________________________________________




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                       EXHIBIT A-4

            Request for Written Acknowledgment




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                             Request for Written Acknowledgment


I acknowledge and agree that [FIRM] has joined, as a representative for its clients, the Coalition
of Abused Scouts for Justice (the “Coalition” or the “Ad Hoc Committee”), an ad hoc committee
representing the collective interests of its members (i.e., Boy Scout sexual abuse victims) in the
Boy Scouts Chapter 11 jointly administered bankruptcy cases pending before the United States
Bankruptcy Court for the District of Delaware, Case No. 20-10343 (the “Chapter 11 Cases”). I
further acknowledge and agree that the Coalition has retained experienced bankruptcy counsel,
Brown Rudnick LLP (“Brown Rudnick”), and Delaware counsel, Monzack Mersky Browder and
Hochman, P.A. (“MMBH”), to represent the collective interests of its members. I further
acknowledge and agree that I have been provided with access to and an opportunity to review a
copy of the Coalition’s Confirmation of Engagement with Brown Rudnick dated July 21, 2020
and the Coalition’s Engagement Agreement with MMBH dated September 13, 2020 (together,
the “Engagement Letters”), and that I consent and agree to becoming a member of the Ad Hoc
Committee in accordance with and subject to the terms of the Engagement Letters. I further
acknowledge and agree that a portion of the fees and expenses incurred by Brown Rudnick and
MMBH will be paid by [FIRM] and any payment of such fees and expenses by [FIRM] will not
increase the fees and expenses owed by me under the terms and conditions of my Employment
Agreement or Retainer Agreement with [FIRM]. I have had an opportunity to consult with my
legal counsel about the terms of the Brown Rudnick and MMBH engagement and my
participation as a member of the Coalition. I further acknowledge and agree that [FIRM] has
authority to represent my interests and to direct and instruct Brown Rudnick and MMBH in
connection with the activities of the Coalition and the Chapter 11 Cases, and to engage and retain
on the Coalition’s behalf, and at no additional cost to me, other professional advisors, including,
without limitation, financial advisors and insurance counsel, to assist the Coalition in its efforts.

Executed on [          ] _____, 2020                  By:




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63861256 v1
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                       EXHIBIT A-5

              Initial Communication to Members




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                     New Member Template Advisement Communication



Dear Client:

We are pleased to announce that [FIRM] has joined a coalition to better achieve compensation
for survivors of Boy Scout sexual abuse. The Coalition of Abused Scouts for Justice is an ad hoc
committee representing the interests of its members (i.e. abused scouts) in the Boy Scouts
Chapter 11 bankruptcy case. The Coalition has retained experienced lead bankruptcy counsel,
Brown Rudnick LLP and Delaware counsel Blank Rome LLP, and has commenced productive
negotiations with the BSA and their insurance carriers to obtain compensation for its members.

We intend that each of our clients will be a member of the Coalition. Participation will not
require you to perform any extra work. If you prefer not to be a member, you may contact us at
any time at [ADDRESS] to let us know. If for any reason you do not want to participate in the
Coalition, you will remain in good standing as our client. Please feel free to contact us with any
questions or to discuss the Coalition.

We believe that this is an effective strategy to obtain compensation from the BSA and its Local
Councils and insurance carriers.

Regards,




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